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 1             UNITED STATES DISTRICT COURT OF MARYLAND
                            SOUTHERN DIVISION
 2
   ---------------------------x
 3 UNITED STATES OF AMERICA            :
                Plaintiff              :
 4                                     :
                                       :
 5 vs                                  :Criminal Action:RWT-04-0235
                                       :
 6                                     :
     LAVON DOBIE, e t al      :
 7                  Defendants.        :
     ---------------------------x
 8

 9                                  Monday , January 23 , 2006
                                    Greenbelt, Maryland
10
           The above-entitled action came on for a     Motions
11 Hearing Proceeding before the HONORABLE ROGER W. TITUS,
   United States District Judge, in courtroom      2A,
12 commencing at 10:10 a.m.

13            THIS TRANSCRIPT REPRESENTS THE PRODUCT
              OF AN OFFICIAL REPORTER, ENGAGED BY
14            THE COURT, WHO HAS PERSONALLY CERTIFIED
              THAT IT REPRESENTS THE PROCEEDINGS   , AS RECORDED
15            AND REQUESTED.

16

17            APPEARANCES:

18            On behalf of the Plaintiff:

19            DEBORAH JOHNSTON, Esquire
              BONNIE GREENBERG, Esquire
20

21
              On behalf of the Defendant       :
22
              JOHN PIERCE, Esquire
23            PETER WARD, Esquire

24
   Tracy Rae Dunlap, RPR, CRR                            (301) 344-3912
25 Official Court Reporter




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 1                                 I N D E X

 2                             DIR    CROSS     REDIR       RECROSS

 3 Frederick   Stacey          4      22        62          67

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24 Reporter's Certificate                                   90

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 1           MS. GREENBERG:          Your Honor , we are    here in the

 2 matter    of United      States of    America   vers us LaVon Dobie .

 3 It's criminal         number   RWT-04-0235 .    Bonnie   Greenberg      and

 4 Donna Johnston for the            United   States.    We're here on a

 5 motion to suppress evidence            based on knock and announce            .

 6           THE COURT:       All right.

 7           MR. PIERCE:          Go od morn ing , Your Honor .     John

 8 Pierce    and Peter Ward on behalf           of Ms. Dobie.       As the

 9 court may know , I represent ed Ms. Dobie at the time this

10 re ply in this motion          was filed ; I've been since

11 relieve d, and Mr. Ward has taken over the

12 representation .         I agree d to assist      with this hear ing .

13           THE COURT:       All right .      Glad to have Mr. Ward

14 with us .

15           MR. WARD:       Good morn ing , Your Honor .

16           THE COURT:       You may proceed .

17           MS. GREENBERG:          Your Honor , at this time we would

18 call supervisory         special    agent Fred Stacey     to the

19 witness     stand .

20 Thereupon,

21                           FREDERICK     J. STACEY ,

22 having been called as a witness on behalf of the

23 Plaintiff , and having been first duly sworn by the

24 Courtroom Deputy, was examined and testified as follows:

25           THE CLERK:       I need you to       state your name     for the




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 1   record .

 2            THE WITNESS:      Frederick     J Stacey,    S T A C E Y.

 3                           DIRECT    EXAMINATION

 4            BY MS. GREENBERG:

 5 Q.         Good morn ing .    Could you tell Ju dge Titus how you

 6 are emp loy ed and your position , please ?

 7 A.         I'm current ly employ ed with the Bureau of

 8 Immigration      and Custom s Enf orcement , the Washington

 9 field off ice in Sterling , Virginia .

10 Q.         If you could move that micro phone ?

11 A.         I'm sorry .

12 Q.         I think it's mostly       for us over here , because

13 this machine        ends up taking a     lot of the hear ing space .

14 A.         Sure .    Is that bet ter?

15 Q.         That 's much better .        Thank you .

16            What is your position ?

17 A.         I'm a supervisory       special    agent , current ly act ing

18 assistant     special    agent in charge       of the Washington

19 office .

20 Q.         What is your background , train ing and experience ?

21 A.         I've been with ICE, previous ly Custom s -- United

22 States     Cu stom s Se rvice since 19 90 as a special         agent .

23 I've been a supervisory         special      agent since 19 99, and

24 I've been involve d in Special           Response     Team , either    as a

25 team leader , now as a tactical            supervisor    for almost      ten




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 1 year s now .

 2 Q.         And that team that you de scribe d, what is the

 3 name of that?

 4 A.         Special     Response   Team .

 5 Q.         What is that ?

 6 A.         A special     response   team is a team of high ly

 7 train ed agent s that execute          high risk warrant s, either

 8 search    warrant s or arrest       warrant s.

 9 Q.         Is that what we typically            think of    as a SWAT

10 team ?

11 A.         That 's correct .      It 's normally     referred    to as a

12 SWAT team .

13 Q.         How long have you been supervisor               of the Special

14 Response     Team ?

15 A.         Almost     two and a half year s now as a supervisor .

16 Q.         And were you in that position            on June 1st 2004 ?

17 A.         I was .

18 Q.         And could you give the judge an idea ,

19 approximately         -- if you can approximate        how many high

20 risk entri es you've        done in term s of --

21 A.         In my career ?

22 Q.         -- s earch warrant s.        Yes .

23 A.         In my career , I would say over a hundred              easily .

24 Maybe 120 .      I have    no idea .    Quite a few .

25 Q.         Would it be fair to say that it 's been over a




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1 hundred      as of the date of this search          warrant , June 1st

2 2004 ?

3 A.          I've done over a hundred        warrant s since that --

4 Q.          No .

5 A.          Oh , prior to June 1st?

6 Q.          Prior to June 1st .

7 A.          Prior to June 1st, that 's correct .

8 Q.          Of 2004 ?

9 A.          That 's correct .

10 Q.         Now , you were in your position         as leader    of the

11 Special     Response    Team on June 1st 2004 at approximately

12 6:30 a.m. ?

13 A.         I was .

14 Q.         And did you go to a location , 7427 Ninth Street

15 in Washington , D. C. ?

16 A.         Yes .

17 Q.         And do you recognize        what is depict ed in the

18 picture     next to you , the one that 's mark ed as Dobie 1

19 for purpose s of this suppression           hear ing ?

20 A.         I do .     That is the front of 7427 Northwest         Ninth

21 Street , Washington .

22 Q.         Did you go to that residence ?

23 A.         We did .

24 Q.         Why d id you go to that residence ?

25 A.         To execute     a warrant    -- search   warrant   on that




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1 residence .

2 Q.          And how did you come to execute           a search       warrant

3 at that residence ?

4 A.          I was contact ed by supervisory          special    agent Ron

5 Selerbsha      in Baltimore .       Ron had -- Special     Agent

6 Selerbsha      had request ed our help from Special             Response

7 Team .     They were executing        approximately     25 warrant s

8 that day and of which five they considered                high risk or

9 high er than normal        risk , and they request ed the service s

10 of the Special        Response    Team .    This add ress was one of

11 the one s considered        high er risk .

12 Q.         So your testimony       is it 's one of the five out of

13 the 25 that were considered           high risk ?

14 A.         That 's correct .

15 Q.         Is that why you were special ly request ed ?

16 A.         That 's correct .

17 Q.         Now , could you tell Judge Titus what the special

18 agent in Baltimore        told you to give you background             about

19 this particular        residence ? Is that something          you

20 typically     get ?

21 A.         We do , because     we make a determination         whether

22 the Special      Response    Team should      be use d or not .      And

23 based on the information           that was given to me by Special

24 Agent Selerbsha        and other agent s of the task force ,

25 primarily     the criminal       history    of the occupant s of the




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 1 residence     and information      that was obtain ed from the

 2 Title 3 wire intercept         indicati ng the amount        of crime s

 3 that Mrs. Dobie had claim ed to have committed , we felt

 4 that it was necessary         for the Special      Response    Team to

 5 be utilize d in this warrant .

 6 Q.         Please   tell Judge Titus specifically         what

 7 information      you were given by the other special             agent s

 8 connect ed with the under lying investigation             that led you

 9 to believe      that Special    Response    Team would be utilize d

10 and factor ed into how you entered           this residence .

11 A.         Well , there are two component s, the first of

12 which is     the criminal     history   of the occupant s of the

13 house .     Both Mr. and Mrs. Do bie had a long history             of

14 violent     crime s; also , a significant        drug history

15 sell ing , distributing       drug .

16 Q.         Could you tell us in your mind as a law

17 enforcement      officer , are drug s connect ed to violence              and

18 if so how ?

19 A.         Normally   so , and that 's for a couple       of reason s.

20 One is primarily       as protection     against    people    that would

21 try to steal drug s from        the owners    of the drug s.       So ,

22 normally     people   that distribute      or deal in drug s are

23 arm ed to protect      themselves .

24 Q.         That 's been your experience , sort of gun s and

25 drug s go together ?




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 1 A.         Absolute ly .

 2 Q.         What other criminal      history , specifically , did

 3 you have as to Ms. Do bie ?

 4 A.         Best of my recollection , I think there were some

 5 crime s of violence .       I want to say arm ed -- either             arm ed

 6 robbery     or some sort of assault .        I can't remember

 7 offhand     but something     to that effect .

 8 Q.         Did the special     agent re lay to you any

 9 conversation s from the wiretap          as to Ms. Dobie ?

10 A.         He did , and he said that Ms. Dobie was q uoted as

11 say ing that she had committed          so many crime s that she

12 could n't remember       how many crime s she committed .

13 Q.         What information      was provide d to you as to Mr.

14 Dobie ?

15 A.         Again , there was background , his criminal

16 history , and then prior to execution             of the warrant s on

17 June 1st we had been inform ed that Mr. Dobie had been

18 incarcerate d on a drug offense          in Washington , D. C.

19 Q.         Without   -- did you know a lot about the

20 under lying offense ?

21 A.         Not really .     I think it was possession           with

22 intent    to distribute , if I remember          correct ly .

23 Q.         But your information        was that he had just been

24 re lease d from jail ?

25 A.         That 's correct .




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 1 Q.         Did that factor      into your decision       as to what to

 2 do at this residence ?

 3 A.         Absolute ly .    Again , now we 've had relative ly

 4 current     information     on the status     of one of the

 5 occupant s relating        to a drug offense .

 6 Q.         Even with that information , was there a

 7 determination       made to knock and announce ?

 8 A.         Absolute ly .    That 's a requirement      for all our

 9 warrant s that we do :        Knock and announce .

10 Q.         Could you de scribe      specifically     for Judge Titus

11 -- and if you need to use the exhibit , go right ahead .

12 You can step off the         witness    stand if you need to .

13 Could you de scribe        for him exact ly what you did that

14 morn ing of June 1st 2004 at approximately               6:30 a.m. at

15 7427 Ninth Street , Washington , D. C.

16 A.         Absolute ly .

17 Q.         If you don't keep your voice up , that nice lady

18 there will throw a portable m ike at you .

19 A.         Our approach     was this direction .       We went down

20 the sidewalk .

21 Q.         If you're    fac ing the     picture   from the right ?

22 A.         From the right .

23            THE COURT:      Officer , could you move the picture

24 over a little       bit so I can see the bottom          of it?   I

25 don't know      if there 's anything       of interest    on the bottom




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 1 but I'd like to see .

 2            MR. WARD:       Does this have a number ?

 3            THE WITNESS:       Your Honor , can you see that ?

 4            THE COURT:       Yes , I can see it now .

 5            BY MS. GREENBERG:

 6 Q.         It has been previous ly mark ed , and I mention ed

 7 prior to that that it has been mark ed as LD Search 1.

 8 A.         Faci ng the picture , we approach ed the stage

 9 approximately        two house s away from the front of the

10 house faci ng to the right , went down the sidewalk                up the

11 step s and stopped        just short on the land ing here to the

12 front door .

13 Q.         Special    Agent Stacey , when you say "we ", who do

14 you mean as "we ", and how many of there were you ?

15 A.         Including      myself , there were seven of us on the

16 entry team for this particular            warrant .

17 Q.         If you could de scribe       to Judge Titus how you were

18 dress ed .

19 A.         Sure .    Our typical    at tire is black battle        dress

20 uniform , BDUs for short , blue or black bullet              proof

21 vest s with "POLICE"        pre dominant ly dis play ed on the       front

22 of the vest in three -inch letter s, balaclavas              and

23 googles.       The balaclavas      are to protect     us from

24 shattering      glass .

25 Q.         Is the "P olice " on the front and the back ?




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 1 A.         It is on the front and the back .

 2 Q.         I'm sorry , continue .

 3 A.         We had long arm s as well as our side arm s,

 4 su b- machine    gun s or shotgun s.

 5 Q.         Did somebody     bring a battering       ram with them ?

 6 A.         We did .    We have one person      we designate     as a

 7 breach er on the team , and a breach er carr ies a battering

 8 ram , what 's called a hooligan tool           which is basically        a

 9 large pry bar and a sledge hammer .            Those are the three

10 basic component s for our breach er 's tool kit .

11            The team then approach ed here .          I sent the

12 breach er to open up the front door .              We had done a

13 prereconnaissance        surveillance     of the residence .       We

14 knew that there was a screen            door and then an in ward

15 opening     door be hind the screen       door .    I had told the

16 breach er to open the door , pin the door , put his back

17 against the      door , and then I designate d Sp ecial Agent

18 Muldown     to do the knock and announce .

19            MR. WARD:     What was the name ?

20            THE WITNESS:      Craig Muldown .       Special   Agent Craig

21 --

22            MR. WARD:     Thank you .

23            BY MS. GREENBERG:

24 Q.         When you said you designate d him -- so he was

25 act ing at your direction ?




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 1 A.         That 's correct .     That 's to allow me to watch the

 2 team and give direction s to the rest of the team while

 3 someone     else is    do ing the   knock and announce .

 4 Q.         Were you also listen ing to          what h appened in     the

 5 house ?

 6 A.         Absolute ly .

 7 Q.         Why is that ?

 8 A.         Because    if I hear someone        speak ing or say ing

 9 they're     comi ng to the door or identify ing or asking               what

10 we're do ing there , I can start communicati ng

11 instruction s to the person          in the house .      So that 's

12 really     why I designate      someone      to do the knock and

13 announce , so I can listen .

14 Q.         And if you would , put your initial s on Dobie

15 Search 1 where you were and where the person                  who was the

16 breach er -- put "breach er " there .

17 A.         I don't know     if it 's going to show up here , but

18 against     the wall was the breach er .           Adjacent   to this

19 corner     was Special     Agent Muldown .       Then right next to

20 him was me .       So , I was actual ly sort of right be side

21 him .

22 Q.         You all were pretty       close up there on the porch ?

23 A.         Right .    And then the rest of the team is stack ed

24 be hind us on the       sidewalk    here .

25 Q.         Where was the chair ?




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1 A.          The chair was there , and then it was thrown             over .

2 Q.          To give you --

3 A.          -- i nto the shrub s to give , under the

4 circumstances , more room to maneuver               so we could hold

5 the door up .         So , the chair was basically       pick ed up and

6 thrown      on the grass .

7 Q.          A simple     plastic    chair ?

8 A.          Yes .

9 Q.          Were you in a position            where you could hear what

10 was going on in the house ?

11 A.         I could .     I would say    I was close enough      to the

12 door and the window         so I could hear any kind of noise or

13 someone     respond ing that they could hear our commands .

14 Q.         You are all up at the porch            and you gave a

15 command     to the person     who was knock ing ?

16 A.         Right .

17 Q.         What command     did you give ?

18 A.         I told Special      Agent Muldown       to do the knock and

19 announce .

20 Q.         Did you observe        him do the knock and announce ?

21 A.         I did .     He knock ed three time s and identifi ed

22 that we were the police           and we were execut ing a search

23 warrant .

24 Q.         Could you de scribe       to the court how he knock ed ?

25 A.         I could actual ly demonstrate           if that would be




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 1 easier , Judge .        Special    Agent Muldown   use d the back of

 2 his fist and pounded           against the    door three time s

 3 (W itness     indicati ng ):      Police officer s with   a search ;

 4 warrant     open up .

 5 Q.         Now , how you just said that here , is that how it

 6 was said at the scene ?

 7 A.         Much loud er but the same .

 8 Q.         How loud was it ?

 9 A.         Pretty   loud .     Very loud , as a matter of fact        .

10 Q.         How about the knock ?

11 A.         The knock was very loud .          It was against    the

12 door .     We ha ve done enough       of these warrant s that we

13 know to be sure that the people              -- the occupant s in side

14 know that we're executing            a warrant .   So , it is pretty

15 loud .

16 Q.         Would you de scribe       it as a knock or a pound ?

17 A.         A p ound would probably        be more accurate .

18 Q.         Could he have hit the door any hard er with his

19 fist ?

20 A.         I doubt it .

21 Q.         And is he a small guy or big guy ?

22 A.         He 's rough ly my side .

23 Q.         How tall are you ?

24 A.         Six feet .

25 Q.         How -- weight ?




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 1 A.         19 5.

 2 Q.         You can't ask that to a woman but I guess you can

 3 ask it to a guy .        What happened       next ?

 4 A.         We pause d for a brief         moment    and then I gave him

 5 the command        to knock and announce       again .

 6 Q.         And again , how did he knock and announce ?

 7 A.         The same way .       Three loud rap s on the door ,

 8 follow ed by "police          with a search    warrant ; open the

 9 door ."     Then there was a brief pause .             Again , I was

10 try ing to     hear some sort of motion            or activity   in side

11 the residence        and I did not .      I then gave the breach er

12 the command        -- Special    Agent Duffy the command         to breach

13 the door and utilize d the battering                ram to utilize     the

14 knock ing mechanism          on the door .

15 Q.         In your experience       in a house this size , is that

16 a sufficient        amount    of notice   for someone     to either     open

17 the door or to yell , I'm coming ?

18 A.         Absolute ly .      It 's a relative ly small home , I

19 would say less than 2,000 square              feet , so any of the

20 occupant s in the house would have heard our commands                      to

21 open the door .

22 Q.         In your search       warrant s that you've      done , that 's

23 happened      before ?

24 A.         Absolute ly.

25 Q.         Are your search       warrants    typically    during this




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 1 period     of time, 6 a.m. to 7 a.m. ?

 2 A.         Absolute ly .     We try to do it as early as

 3 possible .      Sometimes    there are those circumstance s that

 4 preclude      us from do ing it early , but general ly it 's

 5 first thing in the morn ing , six o'clock .

 6 Q.         Why is that?

 7 A.         Usually    most occupant s are in bed and it just

 8 give s us the opportunity         to insure    that the resident s

 9 are home when we get there .

10 Q.         Were arrest      warrant s also being executed       at this

11 time or at least        one arrest    warrant ?

12 A.         Yes .

13 Q.         Is this deem ed a double       knock and announce       what

14 you did ?

15 A.         No , it 's a standard     protocol .    I'm sure you could

16 call it that because         there 's two distinct      knock s and

17 announce s, but that 's our standard           protocol    is that we

18 knock and announce         twice before    maki ng entry .

19 Q.         In preparation      for this hear ing , did you

20 in dependent ly determine        how much time there was from the

21 time that the officer         under your direction        gave the

22 first knock until the time that you first hit the                 door

23 with the battering         ram , given a con servative       period   of

24 time ?

25 A.         I would say , conservative ly , 15 seconds .




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1 Q.          Could it have     been any less than that ?

2 A.          I doubt it.

3 Q.          Could it have been       more than that?

4 A.          Absolute ly.

5 Q.          What , con servatively,      is the long est period       of

6 time that could happen ?

7 A.          I would say at the outside         25 seconds , 30 at

8 top s, but no more than that .

9 Q.          So your testimony      is it could n't have been less

10 than 15 and it would n't have been more than 30 ?

11 A.         Correct .

12 Q.         And that was from the first knock until you hit

13 the door with the ram ?

14 A.         Until the door was actual ly breach ed , correct .

15 Q.         And what happened      after you enter ed the

16 residence ?

17 A.         Our standard     protocol    is that the team start s to

18 go into several        direction s in the house to cover

19 possible      what we call "hot spot s", and I start ed going

20 to the top of the stair s.           I made entry .     I was -- I

21 belie ve I was first or second           through    the door , and as

22 soon as -- my area of responsibility               for the stair s

23 going up to the bedroom , and I saw Mrs. Dobie at the                    top

24 of the stair s.

25 Q.         And would you by the -- strike           this .




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1             By how the house was set up , could you -- did you

2 reach a conclusion         about from where Ms. Dobie had come ?

3 A.          Not immediate ly , but once I reach ed the          top of

4 the stair s I could see that there were several                bedroom s

5 and a bathroom        at the top of the stair s.         The one

6 bedroom      door was open and the other bedroom           door s were

7 close d, and it appear ed that Mrs. Dobie came out of that

8 one open bedroom         door .

9 Q.          Did she make a statement        that she had to go to

10 the bathroom ?

11 A.         She did .     She first asked me what we were do ing ,

12 and I told her we were execut ing a search              warrant ; and

13 then she indicated        she had to go to the bathroom , that

14 it was an emergency .

15 Q.         Was the bathroom      in between    the bedroom     and the

16 stairwell      in which you saw her ?

17 A.         The bathroom     was direct ly opposite      of the

18 bedroom     door that was open and perhaps          five to six feet

19 from the top of the stair s, the land ing .

20 Q.         So , jus t to be clear , if she had left her

21 bedroom , she would have pass ed the           bathroom   at the point

22 you saw her ?

23 A.         Right .     And I think -- I believe       there was

24 another     close d door between      that open door and the top

25 of the stair s.




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 1 Q.         De scribe    to the court what Ms. - -- if you want to

 2 take your seat again .

 3 A.         Okay .     Thank .

 4 Q.         De scribe    to the court what happened         when you

 5 encountered      Ms. Dobie .

 6 A.         First I gave her instruction s to raise her hands

 7 and get on the ground , which is standard                protocol    for

 8 our entri es for high risk entri es .               She then indicated

 9 to me that she had to go to the bathroom                 after she asked

10 me what we were do ing there .             She said it was an

11 emergency .      I gave her an opportunity            to go to the

12 bathroom .

13            I quick ly look ed into         the open door because ,

14 again , that was considered           a hot area for us .      I look ed

15 in that open room and I saw Mr. Dobie in bed , and I

16 start ed giving        him commands    to get out of the bed and

17 come to me on the ground .

18 Q.         From your observation s of the bed , did it appear

19 that somebody        had also been on the other side of the bed

20 along --

21 A.         It did .     It did .

22 Q.         -- next     to Mr. Dobie ?

23 A.         Adjacent     to Mr. Dobie , that side of the bed was

24 -- it look ed like it had been occup ied .

25 Q.         Now , could you give the court an estimate               of the




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1 size of this house based on your observation s of it ,

2 just a general         estimate   of the size of it ?

3 A.          Relative ly small .      Probably    less than 2,000

4 square      feet .

5 Q.          One of the point s raise d by defense            counsel    that

6 I mention ed to you they would ask you is if you knew was

7 there any evidence         that you knew about support ing the

8 guilt of the defendant s in this case .              Did you have any

9 idea about the under lying investigation ?

10 A.         I did .    We were extensively       brief ed by the

11 investigating        group about the developments           in their

12 investigation        so far , primarily    intelligence       collect ed

13 from the Title 3 wire intercept            and surveillance

14 observation s.        So , we had a pretty     good understand ing of

15 the nature      of the investigation       and the different

16 component s of the organization           that was being

17 investigate d.

18 Q.         And your understand ing is it was a wiretap

19 investigation ?

20 A.         It was very clear to us that it was a wiretap

21 investigation.

22 Q.         From your discussion s with         the agent s, you

23 understand      that the case was strong ?         Weak ?     Medium ?

24 A.         According    to what we heard from the agent s, it

25 was a very strong        case and there was a lot of




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 1 in criminati ng information        that had been developed .

 2            MS. GREENBERG :      Court 's indulgence .

 3            No further    question s, Your Honor .

 4            THE COURT:      Counsel .

 5                             CROSS-EXAMINATION

 6            BY MR. PIERCE:

 7 Q.         Good morn ing , Agent Stacey.

 8 A.         Good morn ing .

 9 Q.         My name is John Pierce .        Agent Stacey , do I

10 understand      then that you were not part of the

11 investigative       team for the under lying investigation ?             Is

12 that correct ?

13 A.         That 's correct .

14 Q.         You were call ed in at some point before            the

15 execution      of the warrant     that you've     testifi ed about to

16 under take that warrant         execution ; is that right ?

17 A.         That 's correct .

18 Q.         Were you inform ed how long this investigation                had

19 been on going ?

20 A.         Yes .   In fact , we had gone to several         meet ings

21 prior to the execution          of warrant s and it had -- from my

22 understand ing , it had       been going on for several         month s.

23 Q.         When you say several        meet ings , over what period

24 of time ?

25 A.         I think I went to either        two , possibly    three




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 1 meet ings .     It 's hard to recall -- it 's been over a year

 2 and a half -- but I would say at least               two meet ings .

 3 Q.         When were those meet ings ?

 4 A.         Sometime     during   May of 2004 .

 5 Q.         I believe     your testimony      was this warrant    was

 6 executed      on June 4?

 7 A.         June 1st .

 8 Q.         June 1st ?

 9 A.         Correct .

10 Q.         And you believe       you went to two or three meet ings

11 in May ?

12 A.         Correct .

13 Q.         How long before       the execution      of the warrant     do

14 you believe      those meet ings were ?

15 A.         The last one probably        within     two week s of the

16 warrant     execution .     So , sometime    mid -May I would think .

17 Q.         And then the one before          that was earlier    in May ?

18 A.         Probably     a week before    that .

19 Q.         I take it by your testimony            then that those

20 meet ings where you were educate d about this

21 investigation       precede d the May 24 request         to Judge Day

22 for the search        warrant ; is that right ?

23 A.         That 's correct .

24 Q.         I take it at these de brief ings you were educate d

25 about the on going investigation ; right ?




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1 A.          To some ex tent , yes .

2 Q.          And I believe     your testimony       was you believe d the

3 investigation         had been on going for several        month s.

4 A.          Right .

5 Q.          It had included      a title 3 intercept ; right ?

6 A.          That 's correct .

7 Q.          Many phone call s intercept ed ; is that right ?

8 A.          Yes , that 's right .

9 Q.          You were inform ed of the content s of intercept ed

10 communication s as it related           to execution    of the warrant

11 on Ninth Street that you executed ; correct ?

12 A.         Right .    The risk s involve d; correct .

13 Q.         Right .    I believe    your testimony      was that during

14 the intercept ed communication s you testifi ed you

15 believe d that it was represent ed to you that Ms. Dobie

16 had claim ed to have committed           crime s.

17 A.         Right .    That was -- that information         was provide d

18 to me by one of the agent s in the task force , that 's

19 correct .

20 Q.         Did I understand       your testimony     to be that that

21 representation        is that she had committed        violent   crime s?

22 A.         I don't know     if it was violent       crime s.   It was

23 just state d to me that she had committed              so many crime s

24 she didn't      know how many     she had commit ted.

25 Q.         Whatever    that representation , it was made prior




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1 to going to Judge Day for the warrant ; correct ?

2 A.          I would assume      so.    I didn't     apply for the

3 warrant , but I would as sume so .

4 Q.          But you know that the warrant            was issue d on May

5 24 ?

6 A.          I do know that .

7 Q.          You know in your de brief ings prior to that time

8 that 's when you were educate d about claim s that agent s

9 say that she made on these intercept ed communication s;

10 correct ?

11 A.         Right .    I would say that 's correct .

12 Q.         All right .     And I believe     you also testifi ed

13 about -- had done a records           check of Ms. Dobie ; correct ?

14 A.         One of the agent s in the Baltimore           office    had

15 done a records       check and provided       us the information

16 from Mr. and Mrs. Dobie .

17 Q.         That was another      factor   that was provided        to you

18 in part to help you make assessment s during               execution       of

19 the warrant ; correct ?

20 A.         That 's correct .

21 Q.         And again , that would have been something

22 communicate d to you prior to the application               to Judge

23 Day on May 24 .

24 A.         Yes , that 's correct .

25 Q.         And also I believe        you testifi ed on direct       that




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 1 her husband , Mr. Dobie , had been recent ly re lease d from

 2 custody ; is that right ?

 3 A.         That was the information         that was provided      to us

 4 just prior to that warrant , that Mr. Dobie had been

 5 arrested      and re lease d prior to June 1st.

 6 Q.         This would have been at one of the de brief ings in

 7 May ?

 8 A.         It would have been probably         one of the many

 9 conversation s I had with the case agent s prior to the

10 execution      of the warrant .

11 Q.         But during    the de brief ings in May --

12            MS. GREENBERG :       Objection .   Asked and answered .

13            MR. PIERCE:      Your Honor , I don't believe         he said

14 when it was over .

15            THE COURT:      Over ruled .

16            BY MR. PIERCE:

17 Q.         During   one of the de brief ings in May ?

18 A.         Either   through a     de brief ing or through    a

19 subsequent      phone conversation        with the agent s prior to

20 execution      of the warrant .

21 Q.         Was there any other information          about danger     or

22 prior criminal       history     that was not provided      to you

23 during     the de brief ings ?

24 A.         Not that I know of .

25 Q.         And again , you had mention ed this was an




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 1 extensive      and on going investigation ; correct ?

 2 A.         Correct .

 3 Q.         Any information      not in the custody      of law

 4 enforcement       at the time they went to the judge on May 24

 5 for the warrant ?

 6            MS. GREENBERG:       Objection .     Your Honor , this is

 7 not somebody       who was an affiant      on the warrant .      He

 8 didn't     go to the judge.       He is not part of that .         He was

 9 just brought       in for the entry .      I don't think     that he

10 has any knowledge        about what was said .

11            THE COURT:      Ask him a question      that he would have

12 some basis for answering .

13            BY MR. PIERCE:

14 Q.         Were you provided      with any additional        information

15 about danger       for instance    or past criminal      history      prior

16 to execution       of the warrant     that was not part of your

17 de brief ings ?

18 A.         Other than conversation s with agent s that were

19 part of the investigation , no .           It was either     covered      in

20 brief ings or subsequent         conversation .

21 Q.         That 's what I'm try ing to        understand .    I'm try ing

22 to understand       if there were was any additional

23 information       you were provided      prior to the execution          of

24 the warrant       that was not part of the de brief ings and

25 made prior to application          for the warrant .




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 1 A.         We were given constant          intelligence     update s on

 2 the nature         of the investigation      and the status     of the

 3 application         for the warrant     up to the day of the

 4 execution         of the warrant .

 5 Q.         What were the factor s?          What was the information

 6 that you learn ed after application             of the warrant          until

 7 execution         of the warrant     about danger   or criminal

 8 history .

 9            MS. GREENBERG:        Again , this -- for the court 's

10 reference , the application            was made on May 27 , but this

11 witness     had no part of that .          I don't know     that he can

12 answer .

13            THE COURT:        He was asked what additional

14 information         he got after the application          for the warrant

15 was filed .         If he know s what that information         is , he can

16 answer     it .

17            MS. GREENBERG:        I don't even think -- maybe if

18 counsel     use s the date of the application             for the warrant

19 was made , on May 27 .          Again , he was n't part of that

20 process     so there 's no reason         he had to know .

21            THE COURT:        The objection    is over ruled .       I

22 believe     the question       was what information        about the

23 nature     of the person s and the activities             at that

24 premises      was he given subsequent         to the time the warrant

25 was applied         for .   Is that the question ?




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 1            MR. PIERCE:       Yes, sir .

 2            THE COURT:       All right .     You can answer         that

 3 question .

 4            THE WITNESS:       The only information         that we

 5 obtain ed , substantive         information , was that Mr. Dobie

 6 had been arrested         and subsequent ly re lease d.

 7            BY MR. PIERCE:

 8 Q.         That 's the only additional             information ?

 9 A.         That I can recall .       Again , that was over a year

10 ago .

11 Q.         All right .      You have testif ied that you

12 understood      Ms. Dobie    To have been a target          of both your

13 search     and an arrest     responsibilities ; correct ?

14 A.         Our -- right .       Our responsibility        was to execute

15 the warrant        and secure    the premises       for the search         and

16 arrest     team to go in and do what they had to do .                     Our

17 mission     was only just to secure          the residence .

18 Q.         All right .      But you understood         Ms. Dobie was a

19 target     of an arrest     warrant ?

20 A.         Yes , I did understand         that .

21 Q.         To be executed       at that time ?

22 A.         I did .

23 Q.         Can you tell me who the seven member s of the

24 entry team were ?

25 A.         Yes .     Myself , Special     Agent Craig Muldown ,




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 1 Special     Agent Craig Ko on , Special       Agent Mark Duffy ,

 2 Special     Agent Tony Rodriguez , and I'm sure I'm miss ing

 3 someone     here .   I think that 's five .       There were two

 4 other member s, and I can't recall            offhand   now .

 5 Q.         Do you recall     whether    they were all member s of

 6 your agency ?

 7 A.         They are .    They're     all member s of ICE .      They're

 8 all member s of the Washington           field office .

 9 Q.         Were each of these seven person s also former

10 Custom s agent s who then became          under the gambit      of ICE ?

11 A.         Yes , that 's correct , they were all former           Custom s

12 agent s.

13 Q.         Were any of them women ?

14 A.         No , none were women .       All male s.

15 Q.         Was there another        team of officer s that you

16 expect ed to enter after you had secure d the residence ?

17 A.         There was .     There was a team of officer s from the

18 Baltimore      field office     of ICE , along with task force

19 member s from Montgomery         County Sheriff 's office       that

20 once we secured        the residence     we were going to turn over

21 any prisoner s to those -- to that team .

22 Q.         They were actual ly the search         team , so your team

23 did not conduct        a search .

24 A.         Our team did not conduct        a search .

25 Q.         All right .     Just securing     the residence .




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1 A.          That 's correct .

2 Q.          How long after securing         the residence      did the

3 search      team come in ?

4 A.          I call ed the all clear probably            10 to 12 minute s,

5 maybe 15 minute s top s after we conduct ed our pri mary and

6 secondary       sweeps .    We then escort ed all the occupant s of

7 the residence        to the living     room , and then I sought        out

8 Dave Papalia        from Montgomery       County .

9 Q.          I'm sorry ?

10 A.         Dave Papalia      from Montgomery        County Sheriff 's

11 office     who was the team leader         of that search     team to

12 tell them that the residence             was all secure     and that all

13 the occupant s of the residence            were in the living       room ,

14 and then that was it .          We left and his team came in .

15 Q.         How many member s of that search            and arrest   team

16 there were ?

17 A.         Offhand ?      I'd say five , maybe six .

18 Q.         Where were they position ed when your team came to

19 the front of the residence           prior to the execution         of the

20 warrant ?

21 A.         We had some of their team stage d in the back of

22 the residence       in th e alleyway      to insure     if there were

23 anyone     flee ing that they could apprehend            flee ing

24 suspect s from      the back , and then the rest of the team

25 was in the front of the residence             on the street .




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 1 A.         On Ninth Street .

 2 Q.         Literal ly , in the street ?

 3 A.         I don't know .      I was -- I was in the residence ,

 4 so I don't know        if they were in their vehicle s or on the

 5 sidewalk .      I have no idea .

 6 Q.         Okay .   But somewhere     on the street     or back and

 7 either     in or outside     of vehicle s?

 8 A.         That 's correct .

 9 Q.         It 's a lit tle bit difficult       to see from this

10 exhibit , Dobie Search        1, I believe     it is , how far it was

11 from the front door to the street .

12 A.         I would say no more than 30 feet .

13 Q.         Is that the street       -- we see -- it appear s

14 vehicle s in the forefront         of that picture .      Are they

15 park ed on the curb next to the lawn that goes up to                     the

16 house ?

17 A.         I think that 's the -- there 's a drive way to the

18 left of the residence , and then I think this is actual ly

19 a photo from the in side of the vehicle , a surveillance

20 photo .     So I don't know      what -- I don't think       this is a

21 vehicle , actual ly .       I think this is -- in fact , if you

22 look close ly , I think this is the edge of the sidewalk

23 right here .

24 Q.         You're   point ing to something        right at the bottom

25 of the photo ?




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 1 A.         Bottom    right corner .        Look s like the edge of the

 2 sidewalk .

 3 Q.         Agent , it look s like that lawn sort of drop s

 4 precipitous ly straight          down from the sidewalk           in front

 5 of the house ; is that correct ?

 6 A.         That 's correct .

 7 Q.         And it look s from       this photograph       as though    it's

 8 going straight        from the door way to what might be the

 9 curb as if it might be only perhaps                  ten feet .    Would

10 that more accurate ly de scribe , you think , the distance ?

11 A.         No .    I think it 's actual ly further          than that .

12 Would you say -- I think the question                  was how far to the

13 street .      The sidewalk      is probably    three feet wide , and

14 then the curtilage        between     the sidewalk       and the curb is

15 probably      another   two feet .     So I would say maybe 25 , 30

16 feet .     It 's hard to say from this photo .

17 Q.         You think then , from your testimony , that it

18 would be perhaps        15 to 20 feet from the front door to

19 the public        sidewalk ?

20 A.         That 's probably       a fair assess ment .

21 Q.         Were there any of your team member s park ed right

22 in front of the house ?

23 A.         No .    My team member s were all in side the house --

24 were all in side the residence .

25 Q.         Prior to the execution           of the warrant ?




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1 A.          Prior to executing       the warrant , my team member s

2 were all stack ed in front of the picture               window   of the

3 house .

4 Q.          Were t heir vehicle s down the street ?

5 A.          Vehicle s were -- yeah .       Yes , two house s down .

6 Q.          Were there vehicle s for the search          and arrest

7 team right in front of the house ?

8 A.          I would say that would be correct .

9 Q.          So , any member s of that team that were in their

10 vehicle s were probably          right in front of the house .

11 A.         That 's correct .

12 Q.         It 's June ?

13 A.         Yes , June 1st.

14 Q.         Window s down ?

15 A.         Window s down in the vehicle s or ?

16 Q.         Yes .

17 A.         I have    no idea .    I don't recall    whether     the

18 search     team 's vehicle s were park ed there and whether

19 their window s were up or down .

20 Q.         Were you communicat ing with        any member s of the

21 search     or arrest    team as you approach ed the       house ?

22 A.         No.     Just to let them know we were get ting ready

23 to execute       the warrant .

24 Q.         Did you do that in person         or by radio ?

25 A.         We did it by radio , and then we -- once the




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 1 residence      was secure , we communicate d by radio to let

 2 the team leader        know that it was safe for his team to

 3 come in .

 4 Q.         What about the        house ?    Window s open or shut ?

 5 A.         I can't recall .        I think the front window s were

 6 shut .     If I remember     correct ly , they were shut .

 7 Q.         You had mention ed that there were search               team

 8 member s in the back of the house ; correct ?

 9 A.         I believe     two .    Two member s.

10 Q.         The house had been under surveillance              for some

11 time in preparation         for your entry .

12 A.         That 's correct .

13 Q.         How long ?

14 A.         Through    the night , I believe .

15 Q.         At least     midnight    and after , you think ?

16 A.         Yes .

17 Q.         And what did they communicate              to you about

18 window s open or shut during           the course       of their

19 surveillance ?

20 A.         It d idn't communicate          anything .    We were asking

21 primarily      if there was any activity             just prior to us

22 maki ng entry .       That was my primary        concern , to see if

23 light s were on or had come on , whether                there was anyone

24 leavi ng or enter ing the          residence    prior to us executing

25 the warrant .




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 1 Q.         What do you remember        about the weather       condition s

 2 before     you made entry ?

 3 A.         Warm and no rain .

 4 Q.         Was it a hot summer        night or a cool summer       night ?

 5 A.         I can't recall .

 6 Q.         Do you recall        air conditioner    unit s in the

 7 neighborhood       run ning ?

 8 A.         I can't recall .

 9 Q.         Do you recall        air conditioner    unit s for this

10 house run ning , if any ?

11 A.         I c an't recall .

12 Q.         There was n't any noise that stick s out in your

13 mind as you approach ed ?

14 A.         It was quiet ?

15 A.         It was -- the area was very quiet , yes , so I

16 can't recall       whether      there was an air conditioner       on or

17 not .

18 Q.         There was no ambient        noise , if you will , that

19 affect ed your instruction s to knock and announce                and how

20 long to wait ?

21 A.         No , none at all .       It was pretty    quiet .

22 Q.         On the search        and arrest   team , you mention ed it

23 was Dave Papalia        -- is that P A P A L I A?

24 A.         I believe ; I don't recall .

25 Q.         Montgomery    County ?




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1 A.          Montgomery     County Sheriff 's office .

2 Q.          There was another         agency   you mention ed .

3 A.          It was our -- the office           of Immigration      Custom s

4 Enforcement         out of Baltimore .

5 Q.          Baltimore     ICE ?

6 A.          Yes .

7 Q.          Any other agenci es involve d?

8 A.          I believe     Metropolitan     P.D. had representative s

9 there as well .

10 Q.         Why ?

11 A.         Because     the warrant     was being executed        in side

12 Washington , D. C.

13 Q.         That 's standard        protocol ; correct ?

14 A.         It is .

15 Q.         You want represent atives          of law enforcement       from

16 the jurisdiction        where the warrant 's being executed ?

17 A.         If possible .         That 's not always   the case .

18 General ly though       we have representative s from that local

19 agency     with us .    Since this is a federal         warrant     it 's

20 not necessary .

21 Q.         In this case you do remember            Metropolitan     Police

22 Department      member s being present .

23 A.         I do .

24 Q.         How many ?

25 A.         Don't remember .         I just remember    see ing the




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1 roster      of the search     team s for each location        of the 25

2 location s, and there were representative s from ICE ,

3 Montgomery         County and M. P. D. on virtually      every team .

4 Q.          Were t hese 25 location s all in Washington , D. C. ?

5 A.          No .    Some were in Maryland .

6 Q.          For those location s that included          Maryland , were

7 there Metropolitan         Police Department       member s of that

8 team ?

9 A.          I can't recall .

10 Q.         Do you know if Metropolitan         Police Department         was

11 part of the under lying investigation ?             Was it part of

12 the task force ?

13 A.         I can't recall      if they were or not .         I know it

14 was an ICE- led investigation .

15 Q.         What member s of M.P. D. or Montgomery            County    were

16 involve d?

17 A.         I'm not sure .

18 Q.         I believe    your testimony     was you don't recall          the

19 identity      of the Metropolitan       Police Department      officer s

20 who were part of the search           and arrest    team ?

21 A.         No .

22 Q.         At your location ?

23 A.         That 's correct .     And since we did five location s

24 that day , I was deal ing with a lot of different                people

25 over the course        of the day .




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 1 Q.         You mention ed that all of the special           agent s that

 2 were part of your entry team were men ; correct ?

 3 A.         That 's correct .

 4 Q.         Do you recall      name s or do you recall      having     seen

 5 women assigned          to the search    and arrest   team to follow

 6 you ?

 7 A.         On this particular       location ?

 8 Q.         At this location .

 9 A.         Not to my recollection .         I can't remember     if

10 there were or not .

11 Q.         If Ms. Dobie was a target         of an arrest , a warrant

12 that you were going to execute , would there not have

13 been a woman assigned          to the team to process       a female

14 target ?

15 A.         That 's a decision      that the search     and arrest      team

16 would make , not the entry -- the tactical              team .   That 's

17 not our decision .

18 Q.         That 's not something        that you remember    then is it

19 a particular       --

20 A.         Not .

21 Q.         -- 5 hat a woman was assigned ?

22 A.         No , not that I can recall .

23 Q.         Any other agenci es that you recall          being part of

24 the search      and arrest     team ?

25 A.         No , just those one s that I've note d.




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 1 Q.         So , all of the member s of the search          and arrest

 2 team should        be comprise d of Baltimore      ICE , M.P. D. or

 3 Montgomery      County detective s; correct ?

 4 A.         That 's correct .     To the best of my knowledge ,

 5 that 's correct .

 6 Q.         You mention ed in your testimony         that the entry

 7 was approximately        6:30 in the morning ; right ?

 8 A.         Yes .

 9 Q.         I believe    your testimony     was that you try to

10 execute     all of your warrant s between         6 and 7 in the

11 morn ing ; right ?

12 A.         General ly , that 's a correct .

13 Q.         A big , big part of that is because          you expect

14 people     to be in bed ?

15 A.         That 's right .

16 Q.         You expect    them to be home , one ; right ?

17 A.         Right .

18 Q.         You expect    them to be in bed , two ; correct ?

19 A.         Correct .

20 Q.         I take it a big part of the reason           that you want

21 them in bed is that it help s you gain control               of the

22 situation , perhaps       better   than if they were up late the

23 night before        or if it 's in the evening ; correct ?

24 A.         That 's correct .

25 Q.         This is June 1st , if I recall ; correct ?




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1 A.          Yes .

2 Q.          By 6:30 , had light broken ?

3 A.          Just start ing to , right .       It was just -- just now

4 start ing to get a little          light .

5 Q.          Was there anything       about your timi ng of the entry

6 that had to do with daybreak ?

7 A.          No .    Other than that we had already         executed    two

8 warrant s prior to the Dobie residence .

9 Q.          That day ?

10 A.         That morn ing .     We had gone -- one -- excuse          me ,

11 one -- we execute d two simultaneous ly at two different

12 location s at the same time at 6 a.m. , and then we went

13 to the Dobie location .

14 Q.         When you say you executed         two , your team ?

15 A.         My team .

16 Q.         Executed     two at 6 o'clock ?

17 A.         That 's correct .

18 Q.         So your team broke up into two , is that what

19 you're     say ing ?

20 A.         Two element s.

21 Q.         I'm sorry ?

22 A.         Two element s.

23 Q.         That 's correct .     And then they re join ed for this

24 6:30 warrant ?

25 A.         Correct .




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1 Q.          So your seven member s were three and four ?

2 A.          Well , no .   We had one team of seven on this

3 location .         The other team that was on the simultaneous

4 warrant      hadn't    reach ed this location      by the time we

5 executed       it , so they weren't      part of this warrant .       So

6 it would have been a dozen member s total , of which seven

7 had been on this location .

8 Q.          Did you have any warrant s to execute           after this

9 one ?

10 A.         We did .

11 Q.         What time did you execute         that one ?

12 A.         I think the one after this was probably             around     7

13 o'clock .      7: 00 a.m.

14 Q.         Each in D. C. ?

15 A.         Yes .

16 Q.         Did you execute      any after the 7 o'clock        warrant ?

17 A.         No .    That was it for the day .

18 Q.         But you knew that you were going to execute              each

19 of those warrant s sequentially;           correct ?

20 A.         Correct .

21 Q.         And you knew that another         team was going to come

22 in be hind you after execution           of each of those warrant s?

23 A.         Yes .    There was a search     team that we would hand

24 off the residence        to .

25 Q.         In the de brief ings in May , were you told that




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 1 this location       on Ninth Street      was to be one of your

 2 warrant s?

 3 A.         Yes .

 4 Q.         So you knew for two week s, probably             more , you

 5 were going to execute         a warrant      at that particular

 6 location .

 7 A.         That 's correct .

 8 Q.         Did you know at what time you were going to

 9 execute     that particular      warrant ?

10 A.         We had a rough idea .        We had -- we tri ed to

11 execute     the warrant s in the most efficient             manner   going

12 from one location         to the next instead        of bounci ng across

13 town .     We tr ied to    do it so it was a little          more order ly

14 and sequential .        So , yes , we did rough ly know exact ly --

15 rough ly what time we were going to execute                 the warrant .

16 Q.         During   your de brief ings , were you advise d of the

17 date of the warrant         execution s?

18 A.         It was contingent      upon the warrant s being sign ed ,

19 but we knew a window         -- approximate        window   of when those

20 warrant s, and that our team would be on standby .

21 Q.         And I take it you were educate d as much as

22 possible      by the investigative       team about this particular

23 residence      and its layout , etcetera ; correct ?

24 A.         That 's correct .

25 Q.         Did they provide      you a diagram ?




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 1 A.         I don't remember      see ing a diagram     but we did have

 2 photo s from     the front and the back of the          residence .

 3 Q.         This particular      location   had been subject         of the

 4 investigation       for several    month s; is that right ?

 5 A.         That 's correct .

 6 Q.         Did the investigator s indicate          to you whether       any

 7 under cover operative s had been in side the residence ?

 8 A.         Not that I can recall .

 9 Q.         Any informant s?

10 A.         Not that I can recall .

11 Q.         Were you provided      a schematic      at all for the

12 in side of the residence ?

13 A.         None that I would remember .           My answer   would

14 probably      be no .   I don't remember      any schematic .

15 Q.         You've   testifi ed that you target ed your entry for

16 a time when you expect ed people           to be in bed ; correct ?

17 A.         Correct .

18 Q.         In part to make thing s better          under control      from

19 your perspective ; correct ?

20 A.         That 's correct .

21 Q.         Where were the bedroom s, from your understand ing ,

22 prior to entry ?

23 A.         The bedroom s would be on the second           floor .     Since

24 this was a split level,          it would be at the top of the

25 stair s.




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 1 Q.         You knew it was a split level ?

 2 A.         We did .     And based on our own personal

 3 surveillance        that we conduct ed , we 'd try to do

 4 surveillance        of every location     prior to our entry and we

 5 were down the alley way and in front of the house , and I

 6 noticed     it was a split level .

 7 Q.         You've     mention ed a couple    of time s you think it

 8 was a small ish house , 2, 000 square          feet and less ;

 9 correct ?

10 A.         Correct .

11 Q.         What was your estimate        or understand ing of the

12 distance      from the door to the bedroom s upstairs ?

13 A.         Prior to the warrant , or after maki ng entry ?

14 Q.         Prior to the warrant .

15 A.         Since it was a small house , I would say just by

16 guess ing maybe 20 feet , 2 5 feet .

17 Q.         Straight     shot ?

18 A.         Straight     shot .    I mean , it 's going upstairs , so .

19 Q.         Did you know how the        stair s were laid out --

20 A.         No .

21 Q.         -- p rior to entry ?

22 A.         No , not exact ly .

23 Q.         How many bedroom s did you understand           there to be ?

24 A.         At least     three .

25 Q.         I take it that your team was split up and




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 1 assigned      to go first to separate       bedroom s?

 2 A.         Not necessarily .      That 's not general ly how we

 3 operate .      We don't try to choreograph          the entry .     We

 4 just pick up hot spot s as they -- as they're               approach ed

 5 by team member s.

 6 Q.         What were your hot spot s as designate d prior to

 7 entry ?

 8 A.         The hot spot prior to entry would be -- well ,

 9 again , it 's not choreographed .          As we en counter       a hot

10 spot , whether      it be an open room , a stairwell , are

11 considered      hot spot s.     So the first hot that we

12 en counter ed was the stairwell          going up to the bedroom s.

13 Q.         But you certain ly expect ed in your measure             of

14 entry for a response          from a bedroom      to your knock and

15 announce ; is that fair to say ?

16 A.         Either   someone    would come from a bedroom ,

17 correct , or be at the door by the time we made entry .

18 Q.         You expect ed them to be asleep ; is that right ?

19 A.         Correct .

20 Q.         So you expect ed there to be some period            of time

21 for them      to awake n from your knock and respond ; correct ?

22 A.         That 's correct .

23 Q.         All right .     And then you expect ed there to be

24 some period      of time for them       to make their way

25 downstairs      to the door ; correct ?




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 1 A.         Or to either        announce    that they heard our knock .

 2 Q.         One or the other .

 3 A.         Correct .

 4 Q.         So if they made their way to the door , it would

 5 be whatever      period    of time it took for them           to awake n

 6 and get to the door .

 7 A.         Correct .

 8 Q.         And that 's standard       for entry -- knock and

 9 announce      and entry for a warrant          at this time of the

10 morn ing ; correct ?

11 A.         Do you want to make a distinction              between      a high

12 risk warrant       and a standard         search   warrant   or --

13 Q.         Well , you've       testifi ed that you considered           this a

14 high risk warrant         --

15 A.         Correct .

16 Q.         -- u nder the factor s of a high risk warrant ;

17 correct ?

18 A.         This would be a standard           protocol    for a high risk

19 warrant ; correct .

20 Q.         Just so I make sure I understand              you .    You're   not

21 aware of any high risk element s after going to the judge

22 for a warrant       and the time that you executed               the

23 warrant , except       for Mr. Dobie 's re lease from custody ;

24 correct ?

25 A.         That 's the only one s that I can recall , correct .




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 1 Q.         It was already       a high risk warrant     on your

 2 analysis      from the de brief ings that you got in May ;

 3 correct ?

 4 A.         That 's correct , yes .

 5 Q.         All right .     You also testifi ed , if I'm not

 6 mis taken , that you dis patch ed to the site of the entry a

 7 person     with a battering      ram ; correct ?

 8 A.         Correct .

 9 Q.         Another     person   with a hooligan     bar ; is that

10 right ?

11 A.         Right .     General ly , the breach er would have the

12 battering      ram -- the person      designate d the breach er

13 would have the battering          ram .   Another   person   would have

14 the support ing tool s, which would include             the hooligan

15 and the sledge hammer .

16 Q.         So of the seven -member        team , two of them had

17 breach ing equipment .

18 A.         Correct .

19 Q.         Not three but two ?

20 A.         Correct .

21 Q.         All right .     You de brief ed about the fact that a

22 warrant     was going to be applied        for ; correct ?

23 A.         Yes .

24 Q.         And you were ultimate ly advise d that a warrant

25 had been obtain ed .




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 1 A.         That 's correct .

 2 Q.         And you knew that -- you were arm ed with               that

 3 warrant     physically    when you went to the door ; correct ?

 4 A.         Yes .

 5 Q.         In fact , as the -- what would you , yourself,                 the

 6 team leader --

 7 A.         Tactical    supervisor .

 8 Q.         The supervisor      -- as the supervisor       on the scene ,

 9 you were literal ly in possession           of the warrant         itself ?

10 A.         I did not have possession         of it .    I saw the

11 warrant     -- physically     saw the warrant .        It 's our

12 protocol      to see the warrant , and I hand ed it back to the

13 case agent , and the case agent present s the warrant                     to

14 the occupant s.

15 Q.         As the supervisor      of the entry team , it 's

16 literal ly your responsibility           to be educate d about the

17 warrant , and you mention ed that you've            actual ly grab bed

18 it and re view ed it ; correct ?

19 A.         Correct .     And I saw that it was sign ed .

20 Q.         There weren't     -- there was n't any special

21 permission      from the judge on that particular           warrant ,

22 exigent     circumstance s; correct ?

23 A.         Not that I can remember , no .

24 Q.         In other words , you knew that this was a warrant

25 that you were going to execute            under the normal




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1 circumstance s of knock and announce               as it applied   to

2 those circumstance s.

3 A.          That 's correct .

4 Q.          All right .     I believe    that you testifi ed that you

5 were essentially         the first in the door ; is that correct ?

6 A.          I was either     the first or the second .        I think --

7 I can't recall         if Agent Muldown     precede d me , since we

8 were both in on the land ing .

9 Q.          You were the one who en counter ed Ms. Dobie , if I

10 recall , from your testimony ; correct ?

11 A.         That 's correct .

12 Q.         And by the way .      Were you wear ing your hair or

13 head in the same manner          on that date ?      Were you clean

14 shaven     on that date ?

15 A.         No .    I had a balaclava     on over my head .

16 Q.         Can you de scribe     what that is ?

17 A.         It 's a black hood that 's worn over the head ,

18 goggle s, and a black battle           dress uniform .

19 Q.         All the member s of the team are wear ing that ?

20 A.         Correct .

21 Q.         Was there an ICE agent who had blond hair who

22 show ed up later that was n't wear ing that entry garb ?

23 A.         That had blond hair ?        Not that I can recall .

24 Q.         Do you recall     -- happen    to recall    any M.P. D. or

25 Montgomery        County detective s, a male with blond hair ?




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 1 A.         Not that I can recall .        There were -- again , we

 2 did five warrant s that day , and I don't recall , you

 3 know , everyone       at every scene , every location .

 4 Q.         I think you 've already       testifi ed you specifically

 5 do not recall        a woman among any of the officer s, right ,

 6 or agent s?

 7 A.         That 's correct .

 8 Q.         And does that include        that you do not recall          an

 9 African-American        officer   from the M.P. D.?

10 A.         I don't recall      an African-American      officer     from

11 M.P. D.

12 Q.         An African-American        woman officer , I'm sorry .

13 A.         No , I don't recall       an African-American        woman

14 offic er at the Dobie l ocation          at all .

15 Q.         All right .     But you did testify      that you were the

16 person     who essentially      firs t en counter ed or apprehend ed

17 Ms. Dobie ; right ?

18 A.         That 's correct .

19 Q.         She was comi ng out of the bedroom ?

20 A.         She was stand ing at the top of the land ing , the

21 top of the        stair s adjacent   to the bedroom s.

22 Q.         Was she naked ?

23 A.         No .    She had a white T- shirt on , sleeve less

24 T- shirt that ex tend ed perhaps         to the top of her thigh .

25 Q.         Do you know if she was otherwise           naked ?




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 1 A.         No.      Other than the T- shirt -- I mean not -- you

 2 mean not clothe d be low her T- shirt , is that 's what

 3 you're     asking ?

 4 Q.         Correct .

 5 A.         I would say probably       she was not clothe d.

 6 Q.         I take it it appear ed to you she was literal ly

 7 risi ng out of the bed when you en counter ed her ?

 8 A.         That 's what it appear ed to me .

 9 Q.         Can you de scribe     for us a bit more fully

10 apprehension        to request   to use the restroom      to us ing the

11 rest room ?

12 A.         Sure .     As I went to the top of the stair s, I gave

13 Ms. Dobie several        commands    to raise her hands .       I also

14 want ed her to get out of the           way of the middle     of the

15 hall way to allow the rest of the team to pass and start

16 securing      hot area s.    She asked me what was the nature              of

17 what we were do ing .        She said , officer , what are you

18 do ing ?    I said , we're execut ing a search         warrant .     And

19 she goes , what 's this about ?          I told her someone        would

20 explain     to her what it was about after we secure d the

21 residence .      She then indicated       to me that she had to use

22 the restroom .

23 Q.         Was she on the ground        for that dis course ?

24 A.         She was stand ing at that point , and I had her

25 against the      wall to allow the rest of the team to come




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 1 through .

 2 Q.         Her hands were raise d?

 3 A.         Her hands were raise d.

 4 Q.         You've         -- I don't remember     if you did testify

 5 actual ly , but you -- were each of these de vice s used                 to

 6 make entry , the sledge ham mer, the             battering   ram and the

 7 hooligan      tool ?

 8 A.         Just the sledge - -- jus t the battering            ram ,

 9 excuse     me .

10 Q.         How many time s did you hit the            door with the

11 battering         ram ?

12 A.         Once , possibly        twice .

13 Q.         I take it it make s a loud boom .

14 A.         Yes .

15 Q.         And it did on that occasion ?

16 A.         It did .

17 Q.         And then when you made entry , were you yell ing

18 commands      upon entry ?

19 A.         Yes .      Police officer .      Police officer    with a

20 search     warrant        over and over again .

21 Q.         I take it that's         standard     protocol.

22 A.         That is standard         protocol .

23 Q.         That probably         was literal ly at the top of your

24 lung s.

25 A.         Yes .




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 1 Q.         So as you saw her as you went in , she is re act ing

 2 to this noise and sudden ness, is that fair to say ?

 3 A.         Yes .

 4 Q.         Startle d?    IS that --

 5 A.         Yes .

 6 Q.         That was a yes ?

 7 A.         That 's correct , yes .

 8 Q.         Was there a point when you -- after you

 9 en counter ed her , where you had her get to the ground                  or

10 not ?

11 A.         I'm try ing to recall .       I h ad her get to the

12 ground     because    I know she was being very vocal about

13 having     to use the bathroom , and I was concerned            that

14 there was an open door that hadn't             been search ed .

15 Again , that 's in our hierarchy          of threats.     Stair s an d

16 open door s are our primary          concern , and I remember        just

17 look ing into the bedroom         and see ing Mr. Dobie and

18 start ing to give him commands .           So , I don't think       I had

19 her on the ground , because          simultaneous ly I was giving

20 commands      to Mr. Dobie to get out of the bed and come to

21 me .

22 Q.         Was this request      to use the restroom       in the

23 context     of being startle d at the       rush of officer s into

24 the house ?        Is that your perception ?

25 A.         I can't answer      that , but I know she was very




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 1 vocal about having         to use the bathroom          because   I was

 2 going to turn around            and put the handcuff s on her when

 3 she kept say ing I really            need to use the bathroom , and I

 4 allow ed her to use the bathroom .

 5 Q.         There are two bathroom s in that hall way ; is that

 6 correct ?

 7 A.         The only one I can recall            is the one direct ly

 8 across from the bedroom .             There might have been another

 9 one in the master        bedroom      and I don't recall .

10 Q.         Your understand ing is that she emerge d from                the

11 master     bedroom ; correct ?

12 A.         Yes .

13 Q.         There was a bathroom         in the master       bedroom ?

14 A.         I believe     so .

15 Q.         And then a bathroom         in the hall way near where you

16 en counter ed her ?

17 A.         Correct .

18 Q.         How many seconds         before   entry would you say and

19 her request        to use the bathroom ?

20 A.         Hard to say .        I would say perhaps        ten seconds .

21 Q.         And how many time s after her request              until you

22 let her -- until you compli ed with her request ?

23 A.         Another     ten seconds , because          I had -- again , I

24 had an un secured       room , and that 's when I saw Mr. Dobie .

25 So, I was deal ing with two thing s at the same time ,




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1 deal ing with       Mrs. Dobie and deal ing with giving             commands

2 to Mr. Dobie to get out of the              bed .

3 Q.          Do I understand      from your testimony        that you

4 allow ed her to go use the restroom                 while you were still

5 securing       the house ?

6 A.          Correct .

7 Q.          And that didn't      appear    to be a threat     to you .

8 A.          Well , it was -- it 's sort of outside           of our power

9 to control,       but I was afraid        that Ms. Dobie was         going

10 to have an accident         if I didn't     allow her to use the

11 restroom .

12 Q.         The bathroom     had not been secure         though ; correct ?

13 A.         I took a quick look in side the bathroom            to make

14 sure there were no weapon s, and Mrs. Dobie actually

15 offered     to keep the bathroom         door open while she use d

16 the bathroom .

17 Q.         All of this dis course        happened     in the first 20

18 seconds     as you made entry ?

19 A.         I would say the first request             to use the restroom

20 was within      ten seconds     after entry .        And then by the

21 time she actual ly use d the restroom , another              15 , 20

22 seconds .      I don't know .

23 Q.         Between     the start of the surveillance         as you

24 understood      it at approximately        midnight     and your

25 assembly      on the porch , you didn't       have any information




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1 that people       were comi ng and going from the back of the

2 house , for instance ?

3 A.          We had no intelligence        that there was any

4 activity       whether   people   leavi ng or entering     the house or

5 that light s had come on .

6 Q.          Nothing     -- there were no factor s between        the

7 beginning       of that surveillance       that were related       to you

8 prior to entry about any additional                circumstance s that

9 you were worri ed about ; correct ?

10 A.         Correct .

11 Q.         No additional     circumstance s that would present

12 harm to your officer s other than what you already                 knew ;

13 correct ?

14 A.         That 's correct .

15 Q.         From the time that you knock ed , the first knock ,

16 until you made entry , I belie ve your testimony              was that

17 you didn't      hear anything .

18 A.         That 's correct .

19 Q.         You didn't     hear anyone    say anything ; correct ?

20 A.         That 's correct .

21 Q.         You didn't     hear -- you didn't       hear anybody    moving

22 around     at all .

23 A.         I heard nothing .

24 Q.         You didn't     -- there was n't anything       that you

25 recall     that obscure d your     ability    to hear , correct , like




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 1 air conditioning        and the like ?

 2 A.         No .

 3 Q.         Court 's indulgence .

 4            Agent , you mention ed that there were -- that you

 5 had seen roster s of who was going to be among the entry

 6 team and then the search          and arrest      team for each

 7 location ; correct ?

 8 A.         That 's correct .

 9 Q.         Do you happen     to know where those roster s are

10 maintain ed today ?

11 A.         I would assume      the case agent would have those .

12 Q.         It 's standard    with your work for those roster s to

13 be maintain ed typically         by the ca se agent ?

14 A.         Correct .    It 's part -- it 's usually       an attach ment

15 to an operation s plan .

16 Q.         Agent , you've    testifi ed fair ly clear ly and

17 extensively , I think , about the knock and announce                and

18 your entry .       I just want ed to be sure that there weren't

19 any other factor s other than what you had been de brief ed

20 about , your information         about the residence , the target s

21 of the search , their backgrounds , nothing             happened    after

22 the knock and your entry that changed               any of your

23 calculus ; correct ?

24 A.         That 's correct .

25 Q.         And you testifi ed that you believe d it was




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 1 between     15 and 25 seconds .

 2 A.         Minimum    15 , correct .

 3 Q.         And I got the impression        from the question        by

 4 counsel     to you that you had done your own re en act ment --

 5 A.         Several    time s.

 6 Q.         -- i n preparation     for this hear ing .

 7 A.         But also in most of the warrant s that we do in

 8 Washington,      D. C. there 's a very strict         requirement    to

 9 be at least      to 10 seconds     of knock and announce        prior to

10 entry .

11 Q.         In other words , from the first bang ?

12 A.         From the first bang -bang to you mak ing entry , it

13 should     be a minimum     of ten seconds .

14 Q.         That 's something     different    from D. C. than

15 elsewhere ?

16 A.         I think most place s it 's open to interpretation ,

17 but D. C. they require          -- at least    this is what I've

18 been told -- they require          ten seconds      from the first

19 knock to the point of entry .

20 Q.         So of the 100 to 120 warrant s you've           executed ,

21 they -- there are -- they're            sometimes    less than ten

22 seconds .

23 A.         Right.     Most of those warrant s I was on a team in

24 Miami for seven year s, and most of those warrant s didn't

25 have that same requirement .




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 1 Q.         So my question       was :   So there are warrant s that

 2 you have participate d in ?

 3 A.         That were less than ten seconds .

 4 Q.         Less than ten seconds           from knock to entry ?

 5 A.         Right .

 6 Q.         Do I understand       your response        to be that it 's a

 7 bit more cumbersome         for somebody       in your position       in D.

 8 C. because        you have to wait extra amount           of time ?

 9 A.         I would n't say it was cumbersome .             We're jus t a

10 little     more methodical      about our knock and announce .

11 Q.         You re en act ed the bang , bang , bang , the

12 announcement , and the entry in preparation                 for this

13 hear ing .

14 A.         Yes .     I discuss ed it with counsel , yes .

15 Q.         You didn't     re en act it .

16 A.         Re en act in the sense of ?

17 Q.         Literal ly , bang , bang , bang .          Command .    Bang ,

18 bang , bang .       Command .   And entry .      You didn't       literal ly

19 re en act it and time it .

20 A.         No .    We discuss ed how long it would take to knock

21 and announce        the whole process .

22 Q.         So it was a discussion           between    you and counsel .

23 I'm not asking        you for the consent s of your discussion ,

24 but it was just a discussion            between       you and counsel .

25 A.         Correct .




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                                Recross -      Stacey

 1 Q.          You did not literal ly re en act it :           Bang , bang ,

 2 bang ?

 3 A.          No .     I think we actual ly walk ed through         it and

 4 how long -- I de scribe d exact ly what I did .                Knock ed .

 5 Wait ed .     Knock ed .    Wait ed .    Made entry .

 6 Q.          Okay .     I'm sorry to sound so -- to be labor this

 7 point , but you didn't         re en act it .    You simply     discuss ed

 8 the factor s of what was under taken and then estimate d, I

 9 think it was at least          15 seconds ; correct ?

10 A.          Yeah .     I'm not sure if I understand          the question ,

11 counselor , because         I think we actual ly went and knock ed

12 on a table .         I de scribe d exact ly what I did to counsel .

13 So if that 's a re en act ment then , yes , we re en act ed it ,

14 but I didn't         physically   go through     the whole process          of

15 show ing how the         door was breached      and the whole process

16 of maki ng entry and did I knock and

17 de scribe     what I did .

18 Q.          Yes, more of a description          and re en act ment .

19 A.          Yes .

20 Q.          Th ere was n't any shout ing in           counsel 's office ; is

21 that correct ?

22 A.          Not at all.

23             MR. PIERCE:      Your Honor , I belie ve I'm prepared

24 to pass the witness .

25             THE COURT:      Okay .      Thank you .     Ms. Greenberg .




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                                Redirect -     Stacey

 1            MS. GREENBERG:        Brief ly , Your Honor .

 2                           REDIRECT   EXAMINATION

 3            BY MS. GREENBERG:

 4 Q.         Counsel    asked you about the other agent s that

 5 were present       in and around     the location      that we're

 6 talk ing about here , Ms. Dobie 's residence .

 7 A.         Yes .

 8 Q.         Could you explain       to the court , were people         sort

 9 of ou t and about loungi ng on the street , or was it more

10 secretive , more covert ?         Could you explain         that to the

11 judge ?

12 A.         Obvious ly , it 's more covert .          Our entry is

13 stealth .      Like , we try to draw as little          attention     as

14 possible      prior to maki ng entry .        I have no control       over

15 what we call the break out team .             That 's the    team that

16 contain s the out er perimeter            of the residence .     So, I

17 can't really       testify    what they did or where they were .

18 All I can testify        is what we were going up to and into

19 the entry of the house .

20 Q.         And when you were attempt ing to -- when you

21 approach ed the      residence    and made a knock and announce

22 at the front door , did you look around               and see officer s

23 stand ing around       or was it -- appear       to be a much --

24 A.         No .    My focus is on the threat .          And to me , the

25 door and the window          are the two primary       threat s to




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1 myself      and my team .     So the last thing I'd be look ing at

2 is who was out on the street .             I just insure     that my

3 team is on the stack what we call the stack

4 configuration        to go through     the front door and that we

5 were all prepared         to make entry .      I don't really     look at

6 the street .

7 Q.          Was there any radio or visual           alert that you were

8 aware of that somebody           from the house could see , based

9 on law enforcement , comi ng out ?

10 A.         I saw no visual      -- no indication      across the radio

11 that there was that sort of alert , and I was monitoring

12 all the traffic        on the radio on a headset .

13 Q.         So it was n't one of those radios          that we see the

14 police officers        use that 's on their collar       where

15 somebody      stand ing , you know , next to them or down the

16 street     could hear what's      squawk ing over the radio ?

17 A.         No .   It 's an ear piece sort of like what you see

18 Secret Service       agent s wear ing .    It 's an ear pace and

19 small micro phone mount ed to the top of the vest.

20 Q.         Jus t to be clear .      When you're     at the front porch

21 of the house , you want control           over that whole

22 situation .       You don't want anybody       sort of out in the

23 street     alert ing people     in side to anything .

24 A.         That 's correct .

25 Q.         And you also talk ed about control          in response       to




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 1 defense     counsel 's question s about the fact that the

 2 warrant     is done so earl y in the morn ing when occupant s

 3 are usually      asleep .    Could you tell the judge , does that

 4 affect     your decision , the time of the warrant           and the

 5 fact that individuals         might be in bed in term s of safety

 6 upon entry ?

 7 A.         Absolute ly .    And that 's our primary       consideration

 8 is the safety       of the team and for the occupant s.           We

 9 find that if we do it as early as possible , and 6

10 o'clock     being the normal      time that we do these high risk

11 warrant s and that the occupant            is groggy   or not quite as

12 alert , and therefore        they're     not capable   to reach a

13 weapon     or provide    resistance .      So if we quick ly enter

14 the house and secure         the area , it 's the safest      point of

15 time for both the occupant s and the team .

16 Q.         And that 's based on your train ing and experience ?

17 A.         Correct .

18 Q.         And was that -- was that shown to be true by this

19 particular      search   warrant ?

20 A.         Absolute ly .    This warrant     and other s similar       to

21 it , that if you get the occupant s early in the morn ing

22 that it 's less like ly that anyone           is going to be hurt .

23 Q.         Was there item s locate d within         the house by your

24 team that could have been use d against             your officer s?

25            MR. PIERCE:      Objection , Your Honor .




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 1            THE COURT:        What 's the basis of the objection ?

 2 What 's the basis ?

 3            MR. PIERCE:        Oh , the bas is is,    Your Honor , it 's

 4 irrelevant .       This is an examination         about the factor s

 5 that went into the knock and announce                and the entry , and

 6 whatever      was found in side at some later time during              a

 7 search     was really    irrelevant       to the analysis .

 8            THE COURT:        Ms. Greenberg .

 9            MS. GREENBERG:        Your Honor , I'm just -- counsel

10 was question ing the         agent on his judgment       cal l and

11 allow ing Ms. Dobie to go to the bathroom               and how they

12 enter ed the     residence .      I was just factor ing in --

13            THE COURT:        I'll over rule the objection .

14            THE WITNESS:        Yes .   The search    team discovered

15 two handgun s in the master            bedroom   after we made entry .

16            BY MS. GREENBERG:

17 Q.         That was one of your hot spot s?

18 A.         That 's correct .

19 Q.         And is that because         the door was open and there

20 was a person       in it ?

21 A.         That 's correct .

22 Q.         Now , counsel      also question ed you about the size

23 of the house .       Obvious ly , you were there and we weren't .

24 But could you tell Judge Titus , based on the size of the

25 house and the location           of the bedroom      to the front door ,




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 1 was there sufficient         time for somebody      to wake up , get

 2 out of bed and go to the front door , based on your knock

 3 and announce ?

 4 A.         I would say yes .      Absolute ly .    From the time --

 5 from the first knock to the point that we made entry , I

 6 would say there was sufficient            time to reach the door .

 7 Q.         And at the very least to call from the top of the

 8 stair s, I'm comi ng .

 9 A.         Absolute .

10            MS. GREENBERG :      Court 's indulgence .

11            No further    question s.

12            THE COURT:      Any re cross ?

13            MR. PIERCE:      Very brief ly , Your Honor .

14                           RECROSS    EXAMINATION

15            BY MR. PIERCE:

16 Q.         Agent , I'm not sure I heard your testimony

17 correct ly .     Did you say you had an ear piece in at the

18 time of the knock and announce ?

19 A.         That 's correct .

20 Q.         Just one or two ?

21 A.         No , I had one .

22 Q.         Was this connect ed to a radio ?         Was it ?

23 A.         It was .

24 Q.         Were there any commands          or information     being

25 re lay ed to you as you approach ed the house ?




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 1 A.         No .     No commands    at all .

 2 Q.         So that from the time that you approach ed until

 3 you actual ly made entry , no communication               to the ear

 4 piece ?

 5 A.         None .     The only -- there might be inter -team

 6 communication .

 7 Q.         I'm sorry ?

 8 A.         Inter-team , the entry team 's communication                that

 9 they were in position         -- that my team was in position .

10 Q.         Your seven member s?

11 A.         Correct .     But not from outside       the team .

12 Q.         How about after the knock until entry ?               Any

13 communication s through           the ear piece ?

14 A.         None .     None from outside       the team member s.

15 Q.         Is there a sort of a hum or a hiss or a, you

16 know , kind of a white noise that come s through               the ear

17 piece ?

18 A.         No .     It 's kept very low .      We have one ear that 's

19 free and the other ear that has the ear piece , and it 's

20 kept on a very low volume .

21 Q.         In other words , it didn't          distract   you from the

22 time you knock ed until you made entry ?

23 A.         No .

24 Q.         You had mention ed that it was totally            silent .

25 A.         Correct .




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 1 Q.         You didn't     hear anything        in side the house .

 2 A.         Nothing     at all .

 3 Q.         No toilet s flush ing ?          Nothing ?

 4 A.         Nothing .

 5            MR. PIERCE:      Okay .     That 's all I have      of the

 6 witness , Your Honor .

 7            THE COURT:      Anything     further ?

 8            Thank you .     You may step down .

 9                     (Witness      excused    at 11:23 a.m. )

10            THE COURT:      Any further        witness es ?

11            MS. GREENBERG:         No I want today re mind the court

12 it 's been some time that we actual ly litigate                 it had

13 actual     search    the court found there was probable            cause

14 for the search        and for the item s seize d this is a simply

15 the knock and announce            we continue     don't have any

16 further     witness es for this location .

17            THE COURT:      All right .

18            MR. PIERCE:      Your Honor , this was , you know ,

19 absolute ly a critical         witness      for this hear ing .

20 However , we understand           that there were percipient

21 witness es among law enforcement , presumably                 from --

22 other than the ICE team , but perhaps               just the ICE entry

23 team .     We've been endeavor ing to determine              the identity

24 of those potential         witness es .      We've been operati ng

25 under the description s of a blond custom s agent and a




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 1 female    African-American       M.P. D. of ficer .

 2            The defense     has been work ing with the government

 3 in effort s to informally         identify   those people , and

 4 those have been un success ful .         We have issue d -- not

 5 know ing about or focus sing on Montgomery            County

 6 detective s.        We issue d a subpoena    for the custodian      of

 7 records    of M. P. D. to try and identify       who it was that

 8 was from M. P. D. who was on the site who may have               been a

 9 percipient     witness .    We've not gotten     a return      of that

10 subpoena    yet .

11            I would inform       the court that when I spoke with

12 general    counsel     for the M.P. D. this morn ing , I told him

13 do not worry about rush ing out a custodian             of records .

14 What we're really        interest ed in is the records , and your

15 chamber s were actual ly kind enough to          provide    the fax

16 number    in the event that M.P. D. is able to locate

17 relevant    records     to fax to chambers either this morning

18 or to my office        later.

19            In either event,       once I've determine d the

20 identity    of the percipient       witness , we would probably

21 need to ask the court to indulgence            us to present

22 additional     evidence    -- not today , but at some point --

23 to just close the loop .          If there were any percipient

24 witness es to this entry from our investigation , they

25 would be among law enforcement           and from our




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 1 investigation       they would either     be a blond Custom s agent

 2 or a female     M.P. D. officer , and we're just not able to

 3 tell the court those identiti es yet .

 4           THE COURT:     What is it you believe       those other

 5 officer s would testify         to that would be other than what

 6 I've heard today ?

 7           MS. GREENBERG:         Your Honor , just to shortcut

 8 this .    Believe    it or not , this is the blond agent .        He

 9 had hair then . (Indicating         Agent Stacey.)

10           THE COURT:     Oh .

11           MS. GREENBERG:         We've mention ed to defense

12 counsel    we've talk ed to him and he 's in charge         of the

13 team .    As far as    I know , you are the only one that would

14 have been the blond officer           on the entry team .

15           AGENT STACEY :        That 's the only one I could think

16 of .

17           MS. GREENBERG:         Your Honor , Dave Papalia,     who was

18 the team leader       for the search , has blond hair , and           he

19 was part of the entry team .           We have not been able to

20 locate    without    any name or anything     else an M.P. D.

21 officer    that might have swung by the location , and I

22 just want to let the court know the status             of our

23 investigation , but this         gentleman is the    only blond

24 person    that could have been on the entry team .

25           MR. PIERCE:      It was n't , from my understand ing ,




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 1 and our investigative           effort s to date , it would not have

 2 been a member     of the    entry team .        But instead , probably

 3 a member     of the    search    and arrest     team .

 4            THE COURT:     What would that person             be able to

 5 offer that would assist           in resolving       the legal issue of

 6 the validity     of the entry as opposed             to the search ?        The

 7 search   is an issue I've already             address ed .

 8            MR. PIERCE:     Exact ly , Your Honor .           I think the

 9 only potential        testimony    would be that it was not a --

10 it was not even 15 seconds           between     knock and entry but

11 was a more simultaneous           knock and entry .          That 's what

12 the percipient        witness , we would testify         to that , we

13 would have to identify           them .     Obvious ly , if we were

14 allow ed access       to the witness        and determine      in advance

15 that that 's not the potential              testimony , then we

16 would n't have any additional             evidence    to present .

17            THE COURT:     Are you pro posi ng that I continue               the

18 hear ing ?

19            MR. PIERCE:     Your Honor , we would like the court

20 to take the matter        under submission        and allow us to

21 complete     try ing to identify          who the percipient      witness es

22 would be .     If there aren't       any , we can inform         the court

23 and counsel     that we will have no additional                evidence .     I

24 don't know     if the court want s to hear argument               now or if

25 the court would just be willing               to re convene     the hear ing




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 1 simply   for any additional         brief testimony   and argument .

 2            THE COURT:     Well , this hear ing has been scheduled

 3 for a number     of month s with a fair ly substantial         period

 4 of time to investigate        these matter s.     Why has n't it

 5 been re sol ved before      now ?

 6            MR. PIERCE:     We 've been work ing with the

 7 government .     I think we probably       -- I can't remember

 8 when it was that we sent a letter           over to the government

 9 to try to help with the identification            and what we just

10 got back .     I think it was the end of the week before

11 last was .     This is the only blond Custom s agent we've

12 been able to identify .        We're not able to identify         any

13 M.P. D. officer s and certain ly no female s, so that

14 required     us to go the subpoena       route which we were

15 try ing to avoid .       I apologize , Your Honor , but those

16 were the effort s that we under took to try and make sure

17 that every witness        was available    for today 's date .

18            THE COURT:     All right .     Ms. Greenberg .

19            MS. GREENBERG:     Your Honor , first of all , this

20 would be un believable .       If a witness     who was out on the

21 street   would somehow      know what Agent Stacey      and his team

22 was do ing on the porch , because         they were being

23 surreptitious , they were close to the door , and his

24 testimony     stands    on its own and is sufficient        for the

25 court to rule on this matter .




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 1            Second ly , while I had told counsel      I believe d I

 2 was under     no duty to locate     witness es for him without

 3 specific     name s, we endeavor ed through     talk ing to Special

 4 Agent Stacey , talk ing with the case agent s to try and

 5 help them in this regard .         We have not been able to

 6 locate    this witness     that they allege    was there .     There

 7 is no list of people        from M.P. D. who were present       that

 8 the government     has .

 9            We're not try ing to hide access      to anyone .     We

10 have tri ed our best to help counsel .          We c an show

11 counsel     the list that was prepared      by the investigati ng

12 agent s; there is no M.P. D. officer        on there .    It has

13 Special     Agent Snide r's not es on it , so I can't give it

14 to him at this time but we've been say ing for month s

15 that we have no idea who Ms. Dobie is talk ing about .

16            And the fact that , you know , the defense        want s to

17 continue     the hear ing to prove that Agent Stacey

18 committed     perjury   in his testimony    before   the court just

19 does n't make any sense .        If they have some evidence        like

20 that, they can call us and we can talk about it .               But at

21 that this point , I think we just need to put this matter

22 to rest .     We've been tell ing them for quite some time

23 that we have no idea who they're          talk ing about .

24            THE COURT:      Well , you know , as I said , this

25 matter    has been scheduled      for quite some time .      I have




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 1 listened    car efully to    the testimony , I've re view ed the

 2 submission s by the parti es and the law ; I'm prepared               to

 3 make a ruling .     That 's not to say that somewhere            along

 4 the line , if defense       counsel    could come up with    a

 5 smoki ng gun witness     who is going to say no , they didn't

 6 wait at all , they just came to the front door and

 7 battered    it down -- if     you've    got a witness    like that ,

 8 bring it forward     and ask to re consider         the ruling .     But

 9 I think we 've got to rule on this motion             based upon what

10 we have now , and if there 's -- if in deed something               like

11 that pop s up , fine , but I -- I don't see a basis for

12 defer ring maki ng a ruling .

13            I t hink we ought to get the pre trial rulings            in

14 this case out of the way so this case is ready to                  go to

15 trial , and if somehow       a phantom    witness    come s out of the

16 wood work that would in fact          contradict    the testimony

17 I've heard , then I could certain ly be asked to

18 re consider   the ruling .     Nothing    is final until we're in

19 trial .

20            So , I'll be glad to hear argument         now on why ,

21 based upon the testimony        I've heard today , I should          rule

22 that the search     was not proper ly conduct ed in term s of

23 the knock and announce .

24            MS. GREENBERG:     Your Honor , I would submit          on the

25 motion s given to the court .          Obvious ly , the case s look ed




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 1 at all the evidence        present ed to the investigati ng

 2 officer    in this case .     We had two individuals       with

 3 criminal    histori es , we had what was          deem ed a high risk

 4 entry by the investigating           agent s on a very strong

 5 wiretap    case , and agent s should      be given a reasonable

 6 time to consider        that they're    not being given entry .

 7            The case s have general ly talk ed about a

 8 reasonable     time being anywhere       from five to ten seconds

 9 to 11 to 12 seconds , and the Fourth Circuit             case that 's

10 un publish ed , but that is on point in this case , is the

11 Hargis    case , and it talk ed about 12 to 14 seconds .

12 Certain ly under the circumstance s present ed here , Agent

13 Stacey's    decision     as to the amount       of time reasonable      to

14 wait in light of the circumstance s present ed to him was

15 reasonable .     I have nothing       further    to add beyond    the

16 testimony    which the court has just heard in the motion s.

17            THE COURT:     All right .    Mr. Pierce .

18            MR. PIERCE:     Your Honor , I think the most

19 important    fact s and factor s for this search         or this

20 entry is that as the agent was able to testify              and as

21 I'm sure the court has heard from other testimony

22 throughout     this pend ing litigation , this was a long

23 investigation .     This was an extensive          investigation .

24 Th is investigation       included    Title 3 intercept s, which is

25 a rarity    in law enforcement , and provided          them --




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 1 provided    these investigative     agent s with much more

 2 intelligence     and information    than they would normally

 3 have .

 4            They knew everything     about the background        of the

 5 target s of the search       and arrest .    They knew everything

 6 about the evidence        that they would one day present           in a

 7 courtroom    about the guilt and the weight         of the evidence

 8 for the charge d crime s.       They knew an extraordinary

 9 amount    of information .     And they knew that information

10 at the time of the two de brief ings in May when the agent

11 who was in charge        of maki ng the decision    about entry was

12 educate d about all of those fact s and circumstance s.

13            The warrant    in this -- at this location        was

14 applied    for on , according    to counsel , the 27 th .      I

15 believe    I mis spoke when I said the 24 th .          That mean s

16 that four day s before       the execution    of the warrant , the

17 agent s went to a judge and swore out the fact s that

18 support ed the entry , and they had all of the information

19 that they need ed to educate       that judge to say , judge ,

20 this is going to be an exigent         entry .

21            We're afraid    of the circumstance s, we're afraid

22 of the danger , we're afraid       of all of the fact s that we

23 have learn ed throughout       the investigation    .     We're afraid

24 about the fact that this is a drug investigation .                  We're

25 afraid    about the fact of a prior record         on behalf       of the




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 1 people   living   there.     They had all of that information .

 2 They had all of it to present         to the judge , and if the

 3 factor s warrant ed what amount ed to an exigent             entry , the

 4 judge could have authorize d that .

 5            THE COURT:    You're   not suggesting        that there 's a

 6 requirement     that they secure     authority    to enter without

 7 knock ing from a judge in advance           are you ?

 8            MR. PIERCE:     No , I'm not .

 9            THE COURT:    That 's not the law as I understand

10 it .   You may be able to go to a magistrate             and ask for

11 that but you don't have to .

12            MR. PIERCE:     What I'm -- the only thing th at I

13 want to point out to the court is that if this -- if the

14 factor s were such that it allow ed the agent to quick en

15 his entry , to essential ly do a simultaneous             knock and

16 entry , then those fact s and circumstance s were known and

17 could have been present ed to a magistrate,              who could

18 have said no need to do the knock and announce .

19            It 's important , I think , that the record         reflect

20 and that the court measure        upon :     All of the fact s that

21 were known upon entry were known at the time of the

22 warrant .    This officer     testifi ed that he went to the

23 location    for the entry , that it had been secured            and

24 surveil led for -- since midnight           the night before , and

25 there were no factor s or circumstance s that arose




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 1 over night that made the entry anymore             problematic ,

 2 anymore    dangerous , anymore       anything    than at the time the

 3 warrant    was obtain ed and at the time that the

 4 de brief ings were conduct ed .

 5            He even testifi ed that as he went to the door in

 6 the summertime , there were -- there was no noise .                    There

 7 was no noise that obscure d his ability              to hear anything ;

 8 no air conditioner .       It was still .        It was silent     out .

 9 They did their knock and announce .              And , by the way ,

10 presumably , that would have been -- if it was going to

11 be loud enough     to rouse somebody       from in side , it should

12 have been plenty       loud enough     to any of the       officer s

13 line d up on the street s 30 feet away , 50 feet away , 100

14 feet away ; it should n't matter         in side a car or outside           a

15 car , close d win dows or    not .

16            If this was a proper       knock and announce       -- as the

17 agent testifi ed to , they bang ed , made it ap parent             that

18 they were there to execute           a search    warrant    and yell ed ,

19 law enforcement     with a warrant       open up .     If it was done

20 properly    -- and I have    no doubt that the agent testifi ed

21 that they -- th ey did it at the top of their lung s, that

22 should    have been heard up and down the street s and

23 certain ly in side .

24            He testifi ed to still ness and silence           afterwards .

25 There was nothing       obscuring     anything    -- any of his




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 1 ability    to hear .     If somebody   was -- had enough     time to

 2 come to the door , he could have heard it .           He didn't

 3 hear any flush ing of toilet s; there was no evidence

 4 being destroy ed .       There were no factor s that arose from

 5 the time of the knock , the entry that would have

 6 indicated    to this agent that anything        else had arisen

 7 other than what was known when they went for the warrant

 8 itself .    In the face of the silence , he testifi ed that

 9 he wait ed what he believe d was 15 seconds .          He think s it

10 could have been as long as        25 , but his better     estimate ,

11 the 15 he did on a re en act ment .

12            The reason    I focus ed on that , Your Honor , is that

13 in the natural       circumstance s of an agent about to make

14 entry into a house that potential ly every time they do

15 that , it could be dangerous .         So the adrenaline     is

16 run ning as it should       be , and I submit   to the court that

17 15 seconds    re en act ing it by demonstration      and talk ing it

18 through    with counsel     is probably   closer   to ten is

19 probably    closer     to five in the circumstance s of the

20 adrenaline    of an agent knock ing , listening , knock ing .

21            Your Honor , I think that the -- what the record

22 reflect s is that it certain ly did not sound like it

23 would be more than the 15 seconds          that he testifi ed to

24 and had it been those 15 seconds , had they knock ed

25 loud ly enough , he testifi ed that he en counter ed Ms.




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 1 Dobie at the top of the stair s.

 2           If there is a knock that get s somebody         up out of

 3 bed -- and again , he testifi ed we expect ed them to be in

 4 bed and we expect ed them to be asleep , there needs to be

 5 enough    time to allow the person       to get up and answer           the

 6 door .    That 's what the statute     is de sign ed for .    We

 7 don't want officer s break ing down door s if it can be

 8 avoid ed .     There were no factor s in -- on this record

 9 that suggest ed any danger        to these agent s that suggest ed

10 any circumstance s of silence        where they could not wait

11 for the door to be answered .         Ms. Dobie was at the top

12 of the stair s.      She didn't    have enough   -- he testifi ed

13 that it appear ed to him clear ly that she was just risi ng

14 from bed .

15           She had on a T- shirt just past her waist .           She

16 was clear ly in her sleep wear , and she got only as far as

17 from the bed to just outside         the bedroom    door when the

18 door came crash ing in .       Your Honor , that 's not enough

19 time .    It 's 15 seconds .    If there are circumstance s that

20 warrant      danger to the officer s, fear that evidence           is

21 being destruct ed , and there are no factor s here such as

22 that .    There is no reason      why these agent s could n't have

23 wait ed 25 , 35 , 45 seconds , whatever      it would have taken

24 for Ms. Dobie to      get to the door and answer        the door and

25 let them in without      break ing the    door down .    That 's what




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 1 the statute     require s, that 's what the case law require s

 2 under the fact s of this case where there was a knock ,

 3 dead silence , no circumstance s arisi ng that would

 4 pre vent them from wait ing for her to get to the bottom

 5 of the stair s and answer        the door .

 6            So , we believe    that the evidence    ought to be

 7 suppress ed for violation        of the knock and announce , as

 8 the record     demonstrate s today from the       witness stand .

 9 And we agree with the court if there are additional

10 fact s we learn through        other witness es , we will

11 certain ly file something        and request    a re consideration .

12 But even on the fact s, even on the record           today , this

13 was not a sufficient         knock and announce , and the

14 appropriate     sanction     ought to be suppression     of the

15 evidence    re covered   from within .

16            THE COURT:    All right .     Ms. Greenberg , anything

17 further ?

18            MS. GREENBERG:      Your Honor , brief ly .   The witness

19 before   the court was a very experience d agent . This is

20 his job , being on this high risk entry team , and he gave

21 a conservative     estimate     say ing , you know , at the very ,

22 very least it was 15 seconds         and he explained     how he

23 work ed through    that .     And in response    to defense

24 counsel 's question      by going through      the -- without

25 scream ing in the U. S. Attorney 's office          with going




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 1 through    the circumstance s, and I don't think          counsel        can

 2 say , you know , we should        knock that down to ten or five

 3 seconds    because    of the adrenaline        and the different

 4 circumstance s.

 5            This is somebody      who 's testify ing under oath , and

 6 this is part of their job .           So I think at the very least

 7 we have to say 15 seconds , as the witness             said when he

 8 was being very conservative , and that would be the

 9 absolute    short est period      of time , and it was somewhere

10 between    15 and 25 seconds .        In light of what his

11 testimony     was about the circumstance s of this case , I

12 think that that was reasonable           under the circumstance s.

13 Thank you .

14            THE COURT:     All right .    The motion    before    the

15 court challenge s the validity          of the search    of Ms.

16 Dobie 's residence       on the basis of a violation          of what's

17 known as the knock and announce           rule , which finds its

18 origin s in common       law .   It 's also part of the

19 constitutional       mix of reasonableness , and it 's also

20 codifi ed in 18 U. S. C., Section        3109, which provides that

21 an officer may       break open any outer or inner door or

22 window of a house or any part of a house              or anything

23 therein to     execute    a search    warrant    if after notice     of

24 his authority     and purpose      he is refused     ad mittance    or

25 when necessary       to liberate     himself    or a person    aid ing




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 1 him in execution     of the warrant .

 2            Recent ly there were confirmation       hear ings in the

 3 U. S. Senate for the new Chief Justice , and one of the

 4 matter s that he said he would like to do is to try to

 5 have less divide d upon opinion s of the court and great er

 6 unanimity,    especially     since he as a D. C. circuit         judge

 7 had the obligation     of sometimes     interpret ing these

 8 decision s that are broken       into 17 part s.     It is

 9 therefore    a pleasure    when I find a unanimous        decision     of

10 the supreme     court that give s me pretty       clear guidance       on

11 what to do with this .

12            I'm referring   to United   States    versus   Banks , a

13 2003 decision     of the supreme    court in 540 U. S. 31,

14 author ed for a unanimous       court by Justice     Suitor .     In

15 that case he examine d in the context           of a search     having

16 many character istic s in common       with this one the facts

17 that should     be applied    by a court in determini ng whether

18 the interval     between   the original    knock ing and the

19 forcible    entry satisfi es the Fourth Amendment          or Section

20 3109 .

21            He point ed out , as I would point out here , that

22 the officer s were obligate d to knock and announce , and

23 they claim , and I've heard credible         testimony     to the

24 effect , that they did just that .         So there 's no question

25 here about whether     there was a knock ing and announci ng .




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 1 That was done .      It was required       to be done , and I'm

 2 satisf ied that that is not an issue .

 3            The supreme   court has indicated       that it treat s

 4 reasonableness     in term s of an analysis       for this case as

 5 a function    of the fact s and that the fact s of case s are

 6 so various    that , no template       is like ly to produce       sound

 7 or result s then examining        the to tality   of the

 8 circumstance s in a given case .

 9            The supreme   court point ed to an earlier        decision

10 of that court in Wilson         versus    Arkansas , which held that

11 the common    law knock and announce         principle   is one focus

12 of the reasonableness        inquiry     and point ed out that

13 subsequent ly it had been decide d that although             the

14 standard    general ly require s the police       to announce       their

15 intent   to search    before    entering    close d premises .

16            The obligation    give s way when officer s have a

17 reason able suspicion       that knock ing and announci ng their

18 presence    under the particular         circumstance s would be

19 dangerous    or futile   or would inhibit       the effective

20 investigation     of the crime by , for example , allow ing the

21 destruction     of evidence .     And the court point ed out that

22 even when a warrant      is silent       about the authority       to

23 enter without     knock ing or announci ng , if circumstance s

24 su spect a reasonable       suspicion     of exigency when    the

25 officer s arrive     at the door , they may go straight            in .




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 1            The issue in this case comes down to whether                 it

 2 was reasonable        to suspect        eminent   loss of evidence     after

 3 what took place in that case , the 15 to 20 seconds                    that

 4 the officer s wait ed prior to forci ng their way in .                  The

 5 bottom    line of Justice        Suitor 's opinion      was that while

 6 he considered        it a close case and they were re versi ng

 7 the Ninth Circuit , which had gone the other way , the

 8 court concluded        that after 15 or 20 seconds           without    a

 9 response , police       could fair ly suspect         that cocaine     would

10 be gone if they were to be reticent                 any long er .

11            Justice    Suitor    went on to point s out that the

12 fact s that are known to the police                are what count in

13 judgi ng a reasonable          time .     Here the officer    gave

14 detailed     and cogent    testimony        indicati ng that in this

15 case of the number        of warrant s being executed          that day

16 this was one of five out of 25 they were considered                     to

17 be high risk .        He gave specific        reason s as to why this

18 was consider ed to be high risk , including                the criminal

19 history     of the defendant       and her husband       and the

20 extensive     Title 3 wiretap           information   which had been

21 developed     concern ing the nature          of the criminal       activity

22 that serve d as the basis for the issu ance of the search

23 warrant .

24            He had information           that both Mr. and Mrs. Dobie

25 had a history        of criminal        offense s, that Mrs. Dobie had




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 1 indicated     she had committed       so many crime s she could n't

 2 remember     how many ; Mr. Dobie had been jail ed for a drug

 3 offense     and had just been re lease d from that , and under

 4 these circumstance s the officer          testifi ed that they went

 5 to the door , did not hear any noise s from in side , and

 6 the officer     in charge    of maki ng the knock and announce

 7 announced     in a loud voice , police officers          with search

 8 warrant :     Open up .

 9            The door was pounded       upon -- pounded     on with his

10 fist s.     They wait ed , heard nothing .        Repeat ed that .      And

11 only after receiving        no response    and wait ing a total

12 period    of time from the first knock -- not the second

13 one but the first one of at least           15 seconds     and as much

14 as 25 seconds      did they finally      enter the premises

15 without     await ing a further      response    from in side .

16            What Justice    Suitor    said in examining     this type

17 of circumstance      is especially      appropriate     here .    The

18 court said , the crucial       fact in examining        their action s

19 is not the time to reach the door but the particular

20 exigency     claim ed .   On the record    here what matter s is

21 the opportunity      to get rid of cocaine , which a prudent

22 deal er would keep near a commode          or kitchen sink.

23 Significant c ircumstance s include         the sufficiency        of --

24 the arrival     of the police       during the    day when anyone

25 in side would probably       have been up and around , which was




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 1 not the case here , and the sufficiency          of 15 to 20

 2 seconds    for get ting to   the bathroom     or kitchen to         start

 3 flush ing cocaine      down the drain .     It is eminent

 4 disposal , not travel      time to the entrance , that govern s

 5 when police     may reasonably    enter .

 6            Here you have the circumstance        not only of

 7 eminent    disposal    but a potential ly violent        response    from

 8 person s with an extensive       criminal    background , something

 9 borne out , although      this is not pertinent      to the

10 analysis     by the fact that firearm s were found in side the

11 premises .     The exigencies    reli ed upon for entering          after

12 15 to 25 seconds       are more than sufficient      under the

13 circumstance s of this case in term s of the potential                for

14 disposal     of the drug s as well as the safety          of the

15 officer s.     I therefore   conclude     that the search     was

16 reasonable , and I will deny the motion          to suppress .

17            As I said , if in fact    it turn s out that there is

18 some officer     who will testify     that there -- the

19 testimony     I've heard today was not correct , certain ly I

20 can be asked to re consider       the ruling .    But based upon

21 what I've heard , I do not see a basis for grant ing the

22 motion .

23            MR. WARD:    Your Honor , before    we adjourn , may I

24 make a comment     for the record ?       Peter Ward .     As the

25 court know s, I am now appoint ed to handle          this case for




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 1 Ms. Dobie , and Mr. Pierce       is withdraw ing his appearance .

 2 I first want to thank him for follow ing through                on this

 3 motion    since he actual ly filed it , but I will         be

 4 handli ng matter s from this point on .

 5           While I appreciate     the government 's effort s in an

 6 attempt    to identify    the person    who we've talk ed about , I

 7 think it would be help ful if the government             would

 8 produce    the roster s that were referred        to .

 9           MS. GREENBERG:      Here you go .

10           MR. WARD:      With respect   to this -- thank you .

11           MS. GREENBERG:      It 's already   been produced .

12           MR. WARD:      It does n't tell me where they're         from .

13 I don't know .     I need --

14           THE COURT:      Well , you can confer    with Ms.

15 Greenberg .

16           MR. WARD:      We'll do that and I think once we get

17 the roster , then I can contact         the person s who are

18 like ly to be the witness es we're talk ing about .

19           MS. GREENBERG:      Your Honor , there is no

20 Metropolitan     Police Department      person   on that list .

21           MR. WARD:      Well , maybe there 's a -- maybe the

22 person    was actual ly a Montgomery      County officer .

23 Clear ly there would have to be a woman present             where a

24 woman is being arrested        and transport ed and clothe d and

25 so fort h and so on .      So we'll discuss      that Your Honor ,




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 1 and if we think it appropriate         we will   file a

 2 supplemental    matter   -- motion .

 3         THE COURT:       Very well .

 4         MR. WARD:     Thank you , sir .

 5         THE COURT:       Thank you , counsel .

 6                       (Off the record      at 11:52 a.m. )

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 1                             CERTIFICATE

 2

 3          I, Tracy Rae Dunlap, RPR, CRR, an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand,     in my official capa    city, the proceedings had

 7 and testimony adduced upon the         Motions   Hearing

 8 Proceedings in the case of UNITED STATES OF AMERICA

 9 versus   LAVON DOBIE , et al, Criminal Action Number

10 RWT-04-0235 on     January 23 , 2006.

11

12          I further certify that the foregoing           89 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17          In witness whereof, I have hereto subscribed my

18 name, this 2nd day of      January 2009 .

19

20

21                             __________________________

                               TRACY RAE DUNLAP, RPR, CRR
22                             OFFICIAL COURT REPORTER

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